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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA

Thomas L. Brantley, Edna Rena Brown, Leanna W. Daniels,           )
Jayne Yarbrough Garrett, Tracy Lee Griffis, Graves Pickett,       )
Zachary Wayne Smith, who sues by and through his guardian         )
and next of friend, Krista Smith, Sarah Louise Thomas, Jack       )
                                                                  )
Newell Wadsworth, Jodie Angeline Wilson, Brooke Abbott,
                                                                  )
Mary Olive Adair, Clark Emerson Adams, Julia Mae Adams,           )
Melinda Denae Adams, Tangela Latasha Adams, Torrence              )
Rondell Adams, Gill Albert, Ruby Lee Albert, Crystal D.           )
Albright, Ethel Lee Albright, Joesph Albright, John Wesley        )   CIVIL ACTION NO.:
Albright, Kenneth Jerome Albright, Sadie Mae Albright,            )
Dorothy Myers Anderson, Gwendolyn Gail Anderson, Hazell           )   2:09-cv-00230-WHA
Anderson, Helen Anderson, Kevin Patrick Anderson, Robert L.       )
Anderson, Carolyn W. Arrington, Shirley M. Arthur, Sheila         )   PLAINTIFFS DEMAND A
Ann Barnett, Alberta Richards Bates, Everleon Howard Bates,       )   TRIAL BY STRUCK JURY
                                                                  )
Georgianna Bates, Herman Charles Bates, Jerry Lee Bates,
                                                                  )   Causes of Action:
Otelia Bates, Madge G. Benefield, Hazel Beringer, Jeff            )       Count I – Trespass.
Beringer, Essie Mae Blue, Madgeline Coleman Blue, Tyrone          )       Count II – Public Nuisance.
Gregory Blue, Sandra Lynett Bonner, Johnny L. Bowman,                     Count III – Private Nuisance.
                                                                  )       Count IV – Negligence.
Lillie Mae Bowman, Rosemary D. Bowman, Victoria Jackson           )       Count V – Wantonness.
Bowman, Sylvia D. Brantley, Frank Brooks, Ivory Lee Brooks,       )       Count VI – Negligence Per Se.
who sues by and through his guardian and next of friend,          )       Count VII – Abnormally Dangerous Activity
                                                                          Count VIII – Fraudulent Suppression.
Shukita Gardner, Rodney Leonard Brooks, Theresa Brooks,           )
Virginia A. Brooks, Amond Terique Brown, who sues by and          )
through his guardian and next of friend, April Brown, Demetric    )
                                                                  )
Antionne Brown, Juliet Brown, Minnie Pearl Brown, Robert
                                                                  )
Brown, Stanzell Deonate Brown who sues by and through his         )
guardian and next of friend, Edna Brown, Beverly Lynn Burt,       )
Martha L. Burt, Michael Shan Burt, Timothy Burt, Jo Ann           )
Cain, Beverly Jean Pickett Carroll, Carlton Clay, Elaine Morris   )
Coley, Freddie Lee Cook, Cheryl Ann Nash Cottle, Terry            )
Dwayne Cottle, Mildred Cowling, Richard Lee Crawford,             )
George Willis Cromer, Deloise Jean Cutler, Teresa Wright          )
Cutler, Walter Matthew Cutler, Viola E. Davidson, Bettye Jean     )
Davis, Daisy Maria Davis, Elizabeth Lamar Davis, Jessie Davis,    )
                                                                  )
Jimmy Lee Davis, Lanetta S. Davis, Martha Key Davis,
                                                                  )
Maurice Andrew Davis, Ollie B. Davis, Sandra Annetta Davis,       )
Vanessa Warren Davis, Deshannon Nikole Debardelaben,              )
Barbara Ann Deramus, Bernice C. Deramus, Hattie Mae               )
Deramus, Kendra Marie Deramus, who sues by and through her        )
guardian and next of friend, Barbara Deramus, Lonzell             )
Deramus, Freddie A. Douglas, La'tasha Denise Douglas, who         )
sues by and through her guardian and next of friend, Gail Tyus,   )
Derrick Tyrone Dunnigan, who sues by and through his              )
guardian and next of friend, Tiffany Laskey, Jabari Ellis, Mary   )
                                                                  )
Ellis, Melinda Renee Faison, Deanthony K. Ford, who sues by
                                                                  )
and through his guardian and next of friend, Shukita Gardner,     )
Jennie Mae Frieson, Davarius R. Gardner, who sues by and          )
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through his guardian and next of friend, Shukita Gardner,          )
Shukita D. Gardner, Techerisma La' Toya Gardner, who sues by       )
and through her guardian and next of friend, Mary Stoudemire,      )
Ella C. George, Evelyn Jean Gibbons, Rebecca Gibbons,              )
                                                                   )
Thomas Earl Gibbons, Willie Dorsey Gibbons, Laerica Detrine
                                                                   )
Gill, Eddie Lee Gipson, Gracie Mae Gipson, Rosa L. Gipson,         )
Tommy Lee Gipson Jr., Tommy Lee Gipson Sr., Mary Jackson           )
Harbison, Annie J. Hardy, Hattie Pearl Hardy, Regina Faye          )
Hauswirth, Arby Lee Hines, Kay W. Hines, Johnnie L. Howard,        )
Gladys Marie Hunter, Paulette Ingram, Elanda Marie Jackson,        )
Freddie Jackson, Janice Gibbons Jackson, Mary Alberta              )
Jackson, Mattie Myers Jackson, Ray Charles Jackson, Ruby           )
Pearl Jackson, Scottie V. Jackson, Ulysses Jackson, Viola D.       )
Jackson, Leonard James Sr., Leonard James Jr., Mary Ethel          )
                                                                   )
James, Reggie James, Jessie Pearl Jenkins, Annie Ree Johnson,
                                                                   )
Bertha Mae Johnson, Bruce O'Neal Johnson, Mattie Jean              )
Johnson, Peggy Northington Johnson, Shadel Johnson,Armonee         )
Lashaun Jones, who sues by and through her guardian and next       )
of friend, Tiffany Laskey, Julia Lee Jones ,Mary Louise Jones,     )
Annie Pearl Kellum, Dericco Antonio Kent, who sues by and          )
through his guardian and next of friend, Tiffany Laskey, Alford    )
Randolph Kirby, Arthur Francis Krause, Glenda Ann Krause,          )
Jereline Lamar, Michael Lane Lamar, Bernice Mary Laskey,           )
Joyce Ann Lawson, Jiles Lee Jr., Georgia Mae Lewis, Eula           )
                                                                   )
Hinkle Long, James Thomas Long Jr., James Thomas Long Sr.,
                                                                   )
Kanesha Nicole Long, Delores Taylor Love, Lamarius L.              )
Lovejoy, who sues by and through his guardian and next of          )
friend, Pamela Lovejoy, Pamela Renee Lovejoy, Annie Marie          )
Lucas, Ethel Mae Manora, Bessie Lee Marshall, Dakota Joe           )
Mcafee, who sues by and through his guardian and next of           )
friend, Michelle Mcafee, Josie Elaine McKeithen, John Henry        )
McLemore, Lillie R. McLemore, Vivian Antionette McQueen,           )
Barbara A. Merriweather, Michael Keith Merriweather, George        )
Jeffrey Meredith, Catherine Mitchell, Dina Faye Moore,             )
                                                                   )
Josephine Moore, Nellie Jean Moore, Sheila Smith Morrissette,
                                                                   )
Kyriesha Sha'kira Moseley, who sues by and through her             )
guardian and next of friend, Melinda Faison, Stanley Devonta       )
Moseley, who sues by and through his guardian and next of          )
friend, Melinda Faison, Lorenza Mosely, Katie Bell Mosley,         )
M.L. Mosley, Grailen Levell Motley, Nellie G. Motley, Willie       )
L. Motley, Gayle Wadsworth Myers, James Scott Myers,               )
Tanner Wadsworth Myers, who sues by and through his                )
guardian and next of friend, Shanna Myers, Georgia O'Neal,         )
Denise Clark Owens, Dianne Moseley Palmer, Ben Parker Sr.,         )
                                                                   )
Ethel L. Parker, Connie Hudson Parks, Deborah Anita Parks,
                                                                   )
Marquita Denise Parks, Willie Lee Peagler, Alice Mae Pickett,      )



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Jessie T. Pickett, Kimberly Nikole Pickett, Patricia Delois        )
Pickett, Shannon Ledel Pickett, Terella Pickett, Valerie D.        )
Pickett, Willie J. Pickett, Tybee Lynn Poon, Belinda Jean          )
Powell, Roderick Deromeo Rawlinson, Denise Reese, Oretta           )
                                                                   )
Earnestine Rice, Angela Rene Robinson, Barbara A Robinson,
                                                                   )
Debra Elaine Robinson, Kelsey Marlana Robinson, Kobe               )
Edward Robinson, who sues by and through his guardian and          )
next of friend, Angela Robinson, Maria C. Robinson, Mary           )
Alice Robinson,Quincy Lemond Robinson, Robert Lee                  )
Robinson, Robert Lee Robinson Jr., Sinda Williams Robinson,        )
Stacy Renard Robinson, Willie Mae Robinson, Larry Charles          )
Rogers, Ruby Rogers, Amanda Denise Rudolph, Lucy Mae               )
Rudolph, Coretta Rush, Eduardo Louis Sager, Edward Louis           )
Sager, Mable Louis Sager, Jessie Bell Sanders, Priscilla E.        )
                                                                   )
Sanders, Shirley Ann Sanders, Eller Jean Savage, Brenda Nell
                                                                   )
Scott, Eddie Dean Scott, Latasha Sherree Scott, Mary Celeste       )
Scott, Johnny C. Sears, Wanda Denise Sears, Lela Mae Sims,         )
Larry Lammarr Slayton, Mary Frances Slayton, Brandon               )
Deontae Smith, who sues by and through his guardian and next       )
of friend, Dianne Smith, Corine Smith, Cynthia Elaine Smith,       )
Dianne Smith, Dorothy Jean Smith, Estelle Smith , Ethel Mae        )
Smith, Krista Mechelle Smith, Kristina Delaine Smith, who          )
sues by and through her guardian and next of friendm Zebrah        )
Smith, Lakecia Renee Smith, Mary Lue Smith, Morris Smith,          )
                                                                   )
Mose Smith Sr., Robert Lawrence Smith , Rod'Tavius Smith,
                                                                   )
who sues by and through his guardian and next of friend,           )
Dianne Smith, Rosetta Smith, Theodis Smith, Zebrah Moton           )
Smith, Earnestine Perry Steele, Odessie M. Steele, Patrick         )
Tremaine Steele, Shirley White Steele, Carl Hughlette Stewart      )
Jr., Donna Faye Stewart, Alfreda Stoudemire, Antonio Keaaron       )
Stoudemire, who sues by and through his guardian and next of       )
friend, Atraina Stoudemire, Atraina Lorena Stoudemire, Clyde       )
L Stoudemire, De'aaron Marquil Stoudemire, who sues by and         )
through his guardian and next of friend, Atraina Stoudemire,       )
                                                                   )
Eldrick Pernell Stoudemire, who sues by and through his
                                                                   )
guardian and next of friend, Atraina Stoudemire, Geraldine         )
Stoudemire, Sadie Mae Stoudemire, Shannha Sabrina                  )
Stoudemire, Tauchie Marie Stoudemire, Timothy Stoudemire,          )
Michelle Smith Sturgeon, Barbara Culpepper Tatum, Sammy            )
Tatum , Annie B Taylor, Brown Thomas Jr., Harry J. Thomas,         )
Mary E. Thomas, Virgie L Thomas, Yolanda Thomas,                   )
Gwendodolyn Townsend, Kebrina Annette Townsend, who                )
sues by and through her guardian and next of friend, Alonza D.     )
Townsend, Timothy T. Townsend Jr., Cynthia Deloris Tucker,         )
                                                                   )
Chicaree Nicole Tyus, Gail Denise Tyus, Ashley Danielle
                                                                   )
Underwood, Marcus Terrell Underwood, Teresa Underwood,             )



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Clarence Edward Varner, Georgia Mae Wallace, Martha Ann            )
Wallace, Foster L. Ware, Plummie S. Ware, Barbara Ann              )
Wesson, Donna E. White, Joyce Ann White, Michael Shane             )
White, Dorothy Mosely Williams, Lisa Michelle Williams,            )
                                                                   )
Monica Rena Williams, Violet Mae Williams, Aretina Lashaun
                                                                   )
Williamson, Arthur Williamson, Georgia G. Williamson,              )
Dorian Khalil Willis , who sues by and through his guardian        )
and next of friend, Kecia L. Cyrus, Eldrick L. Willis, Rosetta     )
Willis, Wallace Howard Wills, Charlie Wood, Debra Elaine           )
Woods, Jakerrius Kameron Wyatt, who sues by and through his        )
guardian and next of friend, Kimberly Pickett, Deborah             )
Deramus Yarbrough, and Annie Laura Yelder; all of whom are         )
citizens of Alabama,                                               )
                                                                   )
              Plaintiffs,                                          )
                                                                   )
                                                                   )
versus                                                             )
                                                                   )
INTERNATIONAL PAPER COMPANY, a New York
corporation (Alabama No. F/C 853-624),

              Defendants.



                            FIRST AMENDED COMPLAINT

         COME NOW the Plaintiffs, by and through the undersigned counsel, and file this
amended complaint against International Paper Company, alleging and averring as follows:

                                               Introduction

         1.      This lawsuit is centered around the operation of a paper manufacturing facility
located in downtown Prattville, Alabama (hereinafter the “Facility”) from which tons of
hazardous substances, pollutants, contaminants, and other toxic and harmful materials are, and
have for years been, continuously released into the environment. For the purposes of this First
Amended Complaint, the phrase “released into the environment” shall include, without
limitation, releases into the atmosphere, releases into the waterways and watershed, and releases
onto and into the soil.



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        2.      The hazardous substances, pollutants, contaminants, and other toxic materials
released into the environment from the Facility (hereinafter the “Hazardous Substances”) include
generally, without limitation:

        A.      “Hazardous Chemicals,” as described in 29 CFR Part 1910 Subpart Z;
        B.      “Hazardous Air Pollutants” (HAPs), as described in 40 CFR § 63.2;
        C.      “Hazardous Wastes,” as described in 40 CFR Part 261, Subpart D;
        D.      “Acute Hazardous Wastes,” as described in 40 CFR § 261.30(b);
        E.      “Hazardous Waste Constituents,” as described in 40 CFR Part 261, Appendix
                VIII;
        F.      “Hazardous Substances,” as described in 40 CFR § 302.4; 40 CFR § 117.3;
        G.      “Extremely Hazardous Substances,” as described in 40 CFR Part 355, Appendices
                A and B;
        H.      “Toxic Chemicals,” as described in 40 CFR § 372.65;
        I.      “Imminently Hazardous Chemical Substances or Mixtures,” as described in 15
                U.S.C § 2606(f)(1976), as amended; and
        J.      “Hazardous Materials,” as described in 49 CFR § 105.5(b).

        3.      The Hazardous Substances released into the environment from the Facility
include specifically, without limitation:

        A.      Polychlorinated Dioxins/Furans, including, without limitation, all cogeners such
                as 2,3,7,8-Tetrachlorodibenzo-p-dioxin (TCDD), chlorinated dibenzofurans
                (CDF), and other structurally related groups of chemicals from the family of
                halogenated aromatic hydrocarbons;
        B.      Particulate Matter, including PM-2.5 and PM-10;
        C.      Volatile     Organic     Compounds        (VOC’s),       including,   without   limitation,
                acetaldehyde, acrolein, benzene, ethylbenzene, ethylene, ethylene glycol,
                formaldehyde, methylene chloride, methyl ethyl ketone (MEK), phenols, 1,1,1-




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                trichloroethane, trichloroethylene, toluene, and xylene, including all mixed
                isomers; and
        D.      Polycyclic Aromatic Hydrocarbons (PAH’s), including, without limitation,
                anthracene,      benzo(b,j,k)fluoranthene,       benzo(ghi)perylene,   benzo(a)pyrene,
                coronene, dibenz(a,h)anthracene, indeno(1,2,3,-cd)pyrene, naphthalene, ovalene,
                phenanthrene, propylene, pyrene, and styrene..

        4.      Dioxins are unreasonably dangerous and are known to be capable of causing
significant health problems in both humans and animals.                  TOXICOLOGICAL PROFILE      FOR

CHLORINATED DIBENZO-P-DIOXINS, U.S. Department Of Health And Human Services, Public
Health Service, Agency for Toxic Substances and Disease Registry, December 1998. In fact, the
IARC has classified 2,3,7,8-tetrachloro-p-dioxin as a Class I Known Human Carcinogen. The
toxicity of dioxins first became known more than 40 years ago, beginning in the early 1960’s.
During that 40-year period, dioxins have caused death and disease:

        A.      Among the inhabitants of a Dutch community after a 1963 explosion of a
                chemical plant near Amsterdam;
        B.      Among American soldiers and Vietnamese as a result of the use of the defoliant
                Agent Orange during the Vietnam War;
        C.      Among Italians as a result of a 1976 explosion at a Seveso, Italy chemical plant;
                and
        D.      Among the inhabitants of the entire town of Times Beach, Missouri as a result of
                the use of dioxin-contaminated waste water used to control dust in the town.

        5.      Furans are unreasonably dangerous and are known to be capable of causing
significant health problems in both humans and animals. TOXICOLOGICAL PROFILE                 FOR   2,3
BENZOFURAN, U.S. Department Of Health And Human Services, Public Health Service, Agency
for Toxic Substances and Disease Registry, September 1992. The unreasonably dangerous
nature of furans was known no later than 1960. Wilson, R.H., McCormick, W.E., Plastics: The
Toxicology of Synthetic Resins, AMA ARCHIVES OF INDUSTRIAL HEALTH 21:536-548 (1960).


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        6.      Polycyclic aromatic hydrocarbons are unreasonably dangerous and are known to
be capable of causing significant health problems in both humans and animals. TOXICOLOGICAL
PROFILE FOR POLYCYCLIC AROMATIC HYDROCARBONS, U.S. Department Of Health And Human
Services, Public Health Service, Agency for Toxic Substances and Disease Registry, August
1995. The unreasonably dangerous nature of polycyclic aromatic hydrocarbons have been known
for almost a century. Mixtures of polycyclic aromatic hydrocarbons that include benzo[a]pyrene
such as coal tar were shown to be dermal carcinogens in animals as early as 1918. Yamagiwa,
K., Ichikawa, K., Experimental Study of the Pathogenesis of Carcinoma. JOURNAL OF CANCER
RESEARCH 3:1-29 (1918).

        7.      The Hazardous Substances released into the environment from the Facility are
known to have severe and adverse health effects on humans, including, without limitation, the
diseases from which Plaintiffs now suffer or have suffered.

        8.      The Hazardous Substances released into the environment from the Facility are
unreasonably dangerous and have long been known to cause significant adverse health effects in
both humans and animals.

        9.      The Hazardous Substances released into the environment from the Facility were
and are accompanied by – indeed, even evidenced by – the deposition of particulate matter
(hereinafter the “Particulate Matter”) and certain noxious odors (hereinafter the “Noxious
Odors”), which are simply the physical manifestation of the Hazardous Substances.

        10.     The Facility has been rated (http//www.scorecard.org) as being among the
“dirtiest facilities in the U.S.” because:

        A.      It is in the top 10 percent in total environmental releases.
        B.      It is in the top 10 percent in non-cancer risk from both air and water releases.
        C.      It is in the top 10 percent in air releases of recognized carcinogens.




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        11.     Defendant, International Paper Company, is a global corporation organized and
existing under New York law and having its principal place of business located in Tennessee
(hereinafter “International Paper”). Although it has no principal place of business in Alabama,
International Paper is authorized to operate and conduct business in Alabama (Alabama No. F/C
853-624), and, in fact, actively operates the Facility.

        12.     International Paper is the successor in interest to Union Camp Corporation
(Alabama No. F/C 857-215), a corporation organized and existing in Virginia until its merger
into International Paper on April 30, 1999. Prior to the merger, Union Camp Corporation
operated the Facility. As used herein, the term “Defendant” and “International Paper” includes
Union Camp Corporation, and International Paper is sued:

        A.      In its individual capacity.
        B.      As a successor in interest to Union Camp Corporation.
        C.      As a successor in interest to each of those entities that, through discovery or
                otherwise, is identified during the course of litigation as its predecessor in interest.
        D.      As an alter ego to Union Camp Corporation.
        E.      As an alter ego to each of those entities that, through discovery or otherwise, is
                identified during the course of litigation as its adjunct or instrumentality.

        13.     All Plaintiffs are present or past citizens and residents of Alabama, specifically
the City of Prattville and the surrounding area.

        14.     Plaintiffs have resided and/or worked in the community that surrounds the
Facility and/or have owned property located in that community. In addition, Plaintiffs are all
persons who have losses occasioned by International Paper’s actions, including, without
limitation, personal injuries, medical problems, fear of future medical problems, and property
damage, all of which were proximately caused by the release of the Hazardous Substances,
Particulate Matter, and Noxious Odors into the environment from the Facility.




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        15.     By virtue of 28 U.S.C. § 1332, this Court has diversity jurisdiction over all of
Plaintiffs’ state law causes of action because there is complete diversity between the parties and
each Plaintiffs’ individual claim exceeds $75,000 (excluding interest and costs).

        16.     Venue is permissible and proper in this district pursuant to 28 U.S.C. § 1391, in
that a substantial portion of the events and omissions giving rise to Plaintiffs’ claims occurred in
Prattville, Alabama and the persons and properties at issue are located there.

        17.     When reference in this First Amended Complaint is made to any act or omission
by the Defendants, it shall be deemed to mean that the officers, directors, agents, employees, or
representatives of Defendants committed or authorized such act or omission, or failed to
adequately supervise or properly control or direct their employees while engaged in the
management, direction, operation, or control of the affairs of the Defendants, and did so while
acting within the scope of their employment or agency.

        18.     Plaintiffs have brought this case seeking damages and injunctive relief for injuries
proximately caused by the release of Hazardous Substances, Particulate Matter, and Noxious
Odors from the Facility.

        19.     Despite knowing for several years that it was causing Hazardous Substances,
Particulate Matter, and Noxious Odors to be released into the environment from the Facility,
International Paper intentionally failed to disclose this information to Plaintiffs. As a result:

        A.      For several years Plaintiffs have been continually and unknowingly exposed to
                the Hazardous Substances, Particulate Matter, and Noxious Odors released into
                the environment from the Facility. As a direct and proximate consequence of
                their exposure to the Hazardous Substances, Plaintiffs’ health has been impaired
                and they have suffered injuries. Moreover, as a result of the length and level of
                their exposure to the Hazardous Substances, Plaintiffs’ long term health is at risk.




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        B.      For several years real property, personal property, and fixtures (hereinafter
                collectively the “Property”) owned by Plaintiffs has been continually and
                unknowingly contaminated by the Hazardous Substances, Particulate Matter, and
                Noxious Odors released into the environment from the Facility. As a direct and
                proximate consequence of this contamination, Plaintiffs have suffered damage to
                and diminution of the value of their Property, and they have lost the expected use
                and enjoyment of their Property, and, in addition, have and will be required to
                spend large sums of money to clean up their Property.

                                           Factual Allegations

        20.     The Facility is a paper manufacturing mill located in Prattville, Alabama.

        21.     International Paper regularly and periodically caused the Facility to release
Hazardous Substances, Particulate Matter, and Noxious Odors into the environment.

        22.     The actions of International Paper and its employees, agents, officers, and
representatives, constituted violations of laws intended to protect Plaintiffs from the effects of
the Hazardous Substances, Particulate Matter, and Noxious Odors, including, without limitation,
the following laws:

        A.      THE RESOURCE CONSERVATION AND RECOVERY ACT, 42 U.S.C. §§ 6901, et seq.
                (1976), as amended, as described in 40 CFR Parts 239-282 and in ADEM1
                Admin. Code R. 335-13 and 335-14 (hereinafter “RCRA”).
        B.      THE COMPREHENSIVE ENVIRONMENTAL RESPONSE COMPENSATION AND LIABILITY
                ACT, 42 U.S.C. §§ 9601, et seq. (1980) as amended, as described in 40 CFR Parts
                370 – 374 (hereinafter “CERCLA”).
        C.      SUPERFUND AMENDMENT AND REAUTHORIZATION ACT OF 1986, Pub. L. No. 99-
                499 (codified as amended in scattered sections of the UNITED STATES CODE), as

1.      “ADEM” refers to the Alabama Department of Environmental Management.



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                described in 40 CFR Parts 370 – 374 (hereinafter “SARA”). This legislation
                reauthorized CERCLA to continue cleanup activities around the country.
        D.      THE EMERGENCY PLANNING COMMUNITY RIGHT                        TO   KNOW ACT, 42 U.S.C. §§
                11001, et seq. (1986), as amended, as described in 40 CFR Part 370. Also known
                as Title III of SARA, this legislation was enacted to help local communities
                protect public health, safety, and the environment from chemical hazards.
        E.      OSHA2 Hazardous Waste Operations and Emergency Response Standard, which
                applies to all facilities and situations in which workers are exposed to physical or
                chemical hazards during activities such as cleaning up hazardous waste sites or
                responding to emergencies involving releases of hazardous materials or wastes
                under CERCLA or RCRA, as described in 29 CFR §§ 1910.120 and 1926.65.
        F.      THE CLEAN AIR ACT, 42 U.S.C. §§ 7401, et seq. (1970), as amended, as described
                in 40 CFR Parts 50 – 97, and in ADEM Admin. Code R. 335-3 and in the JCDH-
                APCP3 Rules and Regulations.
        G.      THE CLEAN WATER ACT, 33 USCS §§ 1251, et seq. (1972), as amended, as
                described in 40 CFR Parts 100 – 149 and in ADEM Admin. Code R. 3356-6.
        H.      THE SOLID WASTE DISPOSAL ACT, 42 USCS §§ 6901 et seq.;/THE ALABAMA AIR
                POLLUTION CONTROL ACT OF 1971, CODE OF ALABAMA §§ 22-28-1, et seq.;
        I.      THE ALABAMA HAZARDOUS WASTES MANAGEMENT                            AND   MINIMIZATION ACT,
                CODE OF ALABAMA §§ 22-30-1, et seq.;
        J.      THE ALABAMA SOLID WASTES DISPOSAL ACT, CODE OF ALABAMA §§ 22-27-1, et
                seq.;
        K.      THE ALABAMA ENVIRONMENTAL MANAGEMENT ACT, CODE                           OF   ALABAMA §§ 22-
                22A-1, et seq.;




2.      “OSHA” refers to the Occupational Safety and Health Administration.
3.       “JCDH-APCP” refers to the State of Alabama Jefferson County Department of Health Air Pollution
Control Program.



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        L.      THE ALABAMA WATER POLLUTION CONTROL ACT, CODE OF ALABAMA §§ 22-22-1,
                et seq.;
        M.      THE ALABAMA UNDERGROUND STORAGE TANK AND WELLHEAD PROTECTION ACT
                OF 1988,   CODE OF ALABAMA §§ 22-36-1, et seq.;
        N.      ADEM Regulation 335-3-3-.05(19)(c);
        O.      ADEM Regulation 335-3-4-.02(1) and (2);
        P.      ADEM Regulation 335-3-14-.01(1)(b);
        Q.      ADEM Regulation 335-14-5;/ADEM Regulation 335-14-7-.08;
        R.      ADEM Regulation 335-14-7-.08, subpart H; and
        S.      ADEM Regulation 335-14-X.

        23.     The actions of International Paper in violating the foregoing laws and regulations
constitute violations of duties imposed by law and intended to prevent harm to Plaintiffs and
other persons similarly situated.

        24.     At all times pertinent hereto, International Paper knew, or should have known,
that the Facility was releasing Hazardous Substances, Particulate Matter, and Noxious Odors into
the environment at a level that was unlawful and at a level that could cause injury to persons and
Property.

        25.     At all times pertinent hereto, International Paper knew, or should have known,
that the operations, waste management, and emissions controls at the Facility have been
environmentally unsound and that, as a result, Hazardous Substances, Particulate Matter, and
Noxious Odors have been released into the environment and onto Plaintiffs and their Property.

        26.     International Paper was required to report the volume of Hazardous Substances,
Particulate Matter, and Noxious Odors that were being released into the environment from the
Facility, but for many years International Paper underreported those releases. International Paper
knew, or should have known, that it was underreporting the volume of Hazardous Substances,




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Particulate Matter, and Noxious Odors that were being released into the environment from the
Facility.

        27.     Plaintiffs were among the intended beneficiaries of International Paper’s duty to
report the volume of Hazardous Substances, Particulate Matter, and Noxious Odors that were
being released into the environment from the Facility.

        28.     Exposure to the Hazardous Substances, Particulate Matter, and Noxious Odors
released into the environment from the Facility are known to cause, promote, and accelerate
cancer, to cause birth defects, and to cause other serious, disabling, and life-threatening diseases
and health conditions in humans.

        29.     At all times pertinent hereto, International Paper knew or should have known that
the release of Hazardous Substances, Particulate Matter, and Noxious Odors from the Facility
into the environment could, and in fact, did, directly and proximately cause, promote, and
accelerate cancer, cause birth defects, and cause other serious, disabling, and life-threatening
diseases and health conditions in humans. The attached Exhibit A spreadsheet lists certain
specific illnesses suffered by individual Plaintiffs and known to be among those caused,
promoted, and/or accelerated by exposure to the Hazardous Substances, Particulate Matter, and
Noxious Odors released into the environment from the Facility.

        30.     The Hazardous Substances, Particulate Matter, and Noxious Odors released into
the environment from the Facility have, in fact, directly and proximately caused, promoted, and
accelerated cancer, caused birth defects, and caused other serious, disabling, and life-threatening
diseases and health conditions in Plaintiffs. (Please see attached Exhibit A spreadsheets for
specific damages.)

        31.     The Hazardous Substances, Particulate Matter, and Noxious Odors released into
the environment from the Facility have been deposited onto and contaminated Plaintiffs’
Property. Among other losses, each of these Plaintiffs has suffered damage to their air-



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conditioning units and to the roofs of their homes.             (Please see attached Exhibits B & C
spreadsheets for specific damages.)

        32.     At all times pertinent hereto, International Paper knew or should have known that
the release of Hazardous Substances, Particulate Matter, and Noxious Odors from the Facility
into the environment could, and in fact, did, directly and proximately cause damage to Property
in the community surrounding the Facility.

        33.     Plaintiffs’ exposure to the Hazardous Substances, Particulate Matter, and Noxious
Odors released into the environment from the Facility directly and proximately caused Plaintiffs
to suffer damages, including, without limitation:

        A.      Serious, disabling, and life-threatening diseases and health conditions.
        B.      Emotional injuries, including pain and suffering.
        C.      Loss of wages.
        D.      Medical expenses.
        E.      Future medical expenses.
        F.      Loss of enjoyment of life.

        (Please see attached spreadsheets for specifics)

        34.     International Paper has used Plaintiffs’ Property as if that Property belonged to
International Paper and was a part of the Facility. The manner in which International Paper has
done this is by dumping its waste, debris, and ash on and near Plaintiffs’ properties, by its
continuing use of those piles, and by its failure to remove the existing hundreds of thousands of
tons of waste, debris, and ash dumped on or near Plaintiffs’ properties.

        35.     International Paper reaps tremendous economic benefit and avoids substantial
costs by its use of Plaintiffs’ properties as its own effective supplementary dumping grounds.
International Paper could remove the waste, debris, and ash and cease and desist from further
creation and use of waste, debris, and ash piles on or near Plaintiffs’ properties, but has chosen


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not to do so in order to save itself money, thus gaining the use and enjoyment of the saved
money while at the same time reducing the use and enjoyment of Plaintiffs’ properties.
International Paper knew, or should have known, that its actions were invasive and interfered
with Plaintiffs’ enjoyment of their Property.

        36.     International Paper negligently and/or knowingly suppressed the following facts,
all of which it was required to disclose:

        A.      The nature and extent of the release of Hazardous Substances, Particulate Matter,
                and Noxious Odors from the Facility into the environment.
        B.      The fact that unprotected persons, including Plaintiffs, should not be exposed to
                the Hazardous Substances, Particulate Matter, and Noxious Odors released from
                the Facility into the environment.
        C.      That exposure to the Hazardous Substances, Particulate Matter, and Noxious
                Odors released from the Facility into the environment could occur by breathing,
                ingesting, or otherwise coming into contact with the Hazardous Substances,
                Particulate Matter, and Noxious Odors.
        D.      That exposure to the Hazardous Substances, Particulate Matter, and Noxious
                Odors released from the Facility into the environment could cause, promote, and
                accelerate cancer, cause birth defects, and cause other serious, disabling, and life-
                threatening diseases and health conditions.
        E.      That the Hazardous Substances, Particulate Matter, and Noxious Odors released
                from the Facility into the environment could cause a diminution in value of
                Property and the loss of enjoyment thereof.

        37.     Through its actions and by suppressing the foregoing information, International
Paper prevented Plaintiffs and other neighboring Property owners and residents from fully
evaluating and understanding the situation and delayed Plaintiffs’ assertion of their legal rights.




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        38.     In addition to knowing that their actions and inactions were wrongful, Defendants
know or had reason to know that Facility’s releases of hazardous substances onto neighboring
residential areas was and is improper as creating public nuisance under Alabama statutory laws
and the common law in existence at time relevant hereto.

                                                COUNT I
                                               TRESPASS

        39.     Plaintiffs adopt, allege, and incorporate herein by reference all the averments and

allegations set forth in paragraphs 1 through 38 of this complaint as if fully set forth herein.

        40.     International Paper’s continuous release of the Hazardous Substances, Particulate

Matter, and Noxious Odors into the environment resulted in the contamination of Plaintiffs’

property and constituted a continuous trespass onto Plaintiffs’ property.

        41.     At all times that International Paper trespassed onto Plaintiffs’ property, each

Plaintiff had the exclusive right to possession of said property. Specifically, none of the Plaintiffs

had leased the property to a third party during the period of the continuing trespass.

        42.      International Paper’s continuous release of the Hazardous Substances, Particulate

Matter, and Noxious Odors

                A. Caused substantial injury to the real property, personal property and fixtures

                owned by each Plaintiff in the form of the contamination of said property, the

                deposit of the Hazardous Substances, Particulate Matter onto said Property, and

                the resulting substantial diminution in value of said Property.

                B. Caused substantial injury to the health and welfare of each Plaintiff who

                suffered personal injury and contacted diseases as a result of their exposure to



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                Hazardous Substances, Particulate Matter, and Noxious Odors while on the

                Property where they resided.

        43.     International Paper never sought or obtained these Plaintiffs’ consent to enter onto

their Property or to permit the Hazardous Substances, Particulate Matter, and Noxious Odors to

invade these Plaintiffs’ properties.

        44.      The entry and presence of the Hazardous Substances, Particulate Matter, and

Noxious Odors onto these Plaintiffs’ Property is unauthorized.

        45.     As a direct and proximate consequence of the continuous trespass onto their

Property, these Plaintiffs have suffered and continue to suffer injury to their Property,

deprivation of the reasonable use and value of their Property, a decrease in the value of their

Property, the nuisance and inconvenience of having to cope with the Noxious Odors, and other

damages.

        46.     Plaintiffs are entitled to injunctive relief against International Paper, including,

without limitation, the following:

                A. Injunctive relief to compel International Paper to remediate the contamination

                of Plaintiffs’ Property.

                B. Injunctive relief to prevent further trespass and contamination of Plaintiffs’

                Property.

                C. Injunctive relief to prevent any further release of Noxious Odors.

        47.     Plaintiffs are entitled to recover damages from International Paper, including,

without limitation, the following:




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                A. Compensation for assessment and remediation costs;

                B. Compensation for the diminution in value of and stigma to Plaintiffs’

                Property;

                C. Compensation for the loss of the use and enjoyment of Plaintiffs’ Property;

                D. Compensation for the annoyance, discomfort, and inconvenience;

                E. Compensation for other consequential and incidental damages;

                F. Punitive damages in an amount sufficient to punish International Paper and to

                deter future misconduct.

                                                  COUNT II
                                              PUBLIC NUISANCE

        48.     Plaintiffs adopt, allege, and incorporate herein by reference all of the averments and
allegations set forth in paragraphs 1 through 47 of this complaint as if fully set forth herein.

        49.     The air above the ground and the water below the ground are held by the State of
Alabama in an irrevocable trust for the benefit of the public.               Plaintiffs are among the
beneficiaries of that irrevocable trust.

        50.     The contamination of the air, surface water, soil, and groundwater of the Prattville
Community with the Hazardous Substances, Particulate Matter, and Noxious Odors released
from the Facility wrongfully damaged trust assets for an improper, private purpose.

        51.     The contamination of the air, surface water, soil, and groundwater of the Prattville
Community with the Hazardous Substances, Particulate Matter, and Noxious Odors released
from the Facility unreasonably interfered with the health, safety, and Property rights of the
surrounding community.




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        52.     The actions of International Paper in causing the release of Hazardous Substances,
Particulate Matter, and Noxious Odors from the Facility subverted public order, decency, and
morals, and further constituted an obstruction of public rights.

        53.     The contamination of the air, surface water, soil, and groundwater of the Prattville
Community with the Hazardous Substances, Particulate Matter, and Noxious Odors released
from the Facility constituted a public nuisance.

        54.     The contamination of the air, surface water, soil, and groundwater of the Prattville
Community with the Hazardous Substances, Particulate Matter, and Noxious Odors released
from the Facility proximately caused Plaintiffs’ injuries.

        55.     The injuries caused by the public nuisance are unique to Plaintiffs in this case
hereby entitling them to be awarded damages for their injuries.

        56.     Plaintiffs have standing to pursue an action against International Paper for public
nuisance because of their unique, close proximity to the Facility and because they have suffered
and continue to suffer injuries not shared by the community at large.

        57.     As a direct and proximate consequence of the public nuisance, the entire Prattville
community, including the Plaintiffs, has suffered and continues to suffer injury; although the
Plaintiffs have suffered special injury as alleged in Paragraph 56.

        58.     Plaintiffs are entitled to injunctive relief to against International Paper, including,
without limitation, the following:

                     a. Injunctive relief to compel International Paper to remediate the
                         contamination of the entire Prattville community.
                     b. Injunctive relief to prevent further trespass and contamination of the
                         Prattville community.




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        59.     Plaintiffs are entitled to recover damages from International Paper, including,
without limitation, the following:

                     a. Compensation for assessment of the contamination of the Prattville
                         community and remediation of that contamination;
                     b. Compensation for the diminution in value of and stigma to Plaintiffs’
                         Property;
                     c. Compensation for the loss of the use and enjoyment of Plaintiffs’
                         Property;
                     d. Compensation for the annoyance, discomfort, and inconvenience;
                     e. Compensation for other consequential and incidental damages;
                     f. Punitive damages in an amount sufficient to punish International Paper
                         and to deter future misconduct.


                                            COUNT III
                                        PRIVATE NUISANCE

        60.     Plaintiffs adopt, allege, and incorporate herein by reference all of the averments and
allegations set forth in paragraphs 1 through 59 of this complaint as if fully set forth herein; , except
for the allegations that all members of the Prattville Community have been affected by the
emissions from the Facility. For purposes of this Count III only, the Plaintiffs allege that only
they have suffered any injury as a result of said emissions. These injuries are the result of the
Plaintiffs’ ownership of land within close proximity of the Facility, and/or the Plaintiffs’ special
susceptibility to suffering personal injury, or emotional distress from the odorous emissions.

        61.     International Paper has invaded and interfered with, and is invading and
interfering with, Plaintiffs’ through the release of Hazardous Substances, Particulate Matter, and
Noxious Odors into the environment and onto Plaintiffs’ Property and persons, thereby resulting
in a private nuisance.




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        62.     The contamination of the air, surface water, soil, and groundwater of the Prattville
Community with the Hazardous Substances, Particulate Matter, and Noxious Odors released
from the Facility unreasonably invaded and interfered with Plaintiffs’ interest in the private use
and enjoyment of their Property.

        63.     The contamination of the air, surface water, soil, and groundwater of the Prattville
Community with the Hazardous Substances, Particulate Matter, and Noxious Odors released
from the Facility proximately caused Plaintiffs to suffer personal injuries, land damage, and loss
of use and enjoyment of their Property.

        64.     The contamination of the air, surface water, soil, and groundwater of the Prattville
Community with the Hazardous Substances, Particulate Matter, and Noxious Odors released
from the Facility constituted a private nuisance.

        65.     The contamination of the air, surface water, soil, and groundwater of the Prattville
Community with the Hazardous Substances, Particulate Matter, and Noxious Odors released
from the Facility proximately caused Plaintiffs’ injuries.

        66.     As a direct and proximate consequence of the private nuisance, Plaintiffs have
suffered and continue to suffer injury.

        67.     Plaintiffs are entitled to injunctive relief to against International Paper, including,
without limitation, the following:

                     a. Injunctive relief to compel International Paper to remediate the
                         contamination of Plaintiffs’ Property.
                     b. Injunctive relief to prevent further trespass and contamination of
                         Plaintiffs’ Property.

        68.     Plaintiffs are entitled to recover damages from International Paper, including,
without limitation, the following:



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                     a. Compensation for assessment of the contamination of Plaintiffs’ Property
                         and remediation of that contamination;
                     b. Compensation for the diminution in value of and stigma to Plaintiffs’
                         Property;
                     c. Compensation for the loss of the use and enjoyment of Plaintiffs’
                         Property;
                     d. Compensation for the annoyance, discomfort, and inconvenience;
                     e. Compensation for other consequential and incidental damages;
                     f. Punitive damages from International Paper in an amount sufficient to
                         punish International Paper and to deter future misconduct.

                                              COUNT IV
                                             NEGLIGENCE

        69.     Plaintiffs adopt, allege, and incorporate herein by reference all of the averments and
allegations set forth in paragraphs 1 through 68 of this complaint as if fully set forth herein.

        70.     International Paper, together with its employees, agents, officers, and
representatives, owed duties of care to Plaintiffs from the commencement of operations of the
Facility and continuing through the present.

        71.     International Paper breached the duties of care that it owed to Plaintiffs.

        72.     As a proximate and foreseeable consequence of the breach of the duties of care
owed by International Paper and its employees, agents, officers, and representatives, Plaintiffs
suffered injury.

        73.     As a result of these breaches, and as a direct and proximate consequence of
International Paper’s negligence, Plaintiffs’ health has been jeopardized, and Plaintiffs have been
prevented from fully evaluating the situation, previously asserting their legal rights to protection




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of their persons and properties, and taking measures to minimize their potential exposure to
hazardous substances.

        74.     Plaintiffs are entitled to injunctive to relief against International Paper, including,
without limitation, the following:

                     a. Injunctive relief to compel International Paper to remediate the
                         contamination of Plaintiffs’ Property.
                     b. Injunctive relief to prevent further trespass and contamination of
                         Plaintiffs’ Property.

        75.     Plaintiffs are entitled to recover damages from International Paper, including,
without limitation, the following:

                     a. Compensation for assessment of the contamination of Plaintiffs’ Property
                         and remediation of that contamination;
                     b. Compensation for the diminution in value of and stigma to Plaintiffs’
                         Property;
                     c. Compensation for the loss of the use and enjoyment of Plaintiffs’
                         Property;
                     d. Compensation for the annoyance, discomfort, and inconvenience;
                     e. Compensation for other consequential and incidental damages;
                     f. Punitive damages from International Paper in an amount sufficient to
                         punish International Paper and to deter future misconduct.

                                             COUNT V
                                            WANTONNESS

        76.     Plaintiffs adopt, allege, and incorporate herein by reference all of the averments and
allegations set forth in paragraphs 1 through 75 of this complaint as if fully set forth herein.




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        77.     International Paper, together with its employees, agents, officers, and
representatives, owed duties of care to Plaintiffs from the commencement of operations of the
Facility and continuing through the present.

        78.     International Paper breached the duties of care that it owed to Plaintiffs.

        79.     The actions of International Paper and its employees, agents, officers, and
representatives were willful and wanton and exhibit a reckless disregard for the lives, health, and
Property of Plaintiffs and the population of the Prattville community.

        80.     As a proximate and foreseeable consequence of the breach of the duties of care
owed by International Paper, Plaintiffs suffered injury.

        81.     Plaintiffs are entitled to injunctive to relief against International Paper, including,
without limitation, the following:

                     a. Injunctive relief to compel International Paper to remediate the
                         contamination of Plaintiffs’ Property.
                     b. Injunctive relief to prevent further trespass and contamination of
                         Plaintiffs’ Property.

        82.     Plaintiffs are entitled to recover damages from International Paper, including,
without limitation, the following:

                     a. Compensation for assessment of the contamination of Plaintiffs’ Property
                         and remediation of that contamination;
                     b. Compensation for the diminution in value of and stigma to Plaintiffs’
                         Property;
                     c. Compensation for the loss of the use and enjoyment of Plaintiffs’
                         Property;
                     d. Compensation for the annoyance, discomfort, and inconvenience;



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                     e. Compensation for other consequential and incidental damages;
                     f. Punitive damages from International Paper in an amount sufficient to
                         punish International Paper and to deter future misconduct.

                                     COUNT VI
                           ABNORMALLY DANGEROUS ACTIVITY

        83.     Plaintiffs adopt, allege, and incorporate herein by reference all of the averments and
allegations set forth in paragraphs 1 through 82 of this complaint as if fully set forth herein; , except
for any allegations that the risk of harm posed by the operation of the Facility can be eliminated
by the exercise of reasonable care. For purposes of Count VI only, the Plaintiffs allege that the
that the risk of harm posed by the operation of the Facility cannot be eliminated by the exercise
of reasonable care, insofar as state and federal law allow some degree of permitted emissions
from the Facility and these permitted emissions can and have caused the property damage
suffered by the Plaintiffs.

        84.     International Paper was and is engaged in abnormally dangerous activities by the
manner in which it has caused Hazardous Substances, Particulate Matter, and Noxious Odors to
be released into the environment from the Facility. International Paper’s conduct:

                     a. Created a high degree of risk of harm to others, particularly Plaintiffs;
                     b. Created a risk involving a likelihood that the harm threatened by
                         International Paper’s activities would be great;
                     c. Created a risk of harm that could not be eliminated by the exercise of
                         reasonable care;
                     d. Was not a matter of common usage; and
                     e. Was inappropriate to be carried on in and near residential neighborhoods
                         in Prattville.

        85.     The release of Hazardous Substances, Particulate Matter, and Noxious Odors into
the environment from the Facility constituted a non-natural use of the land on which the Facility


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is situated and thereby imposed an unusual and extraordinary risk of harm to Plaintiffs’ persons
and Property as well as to other persons and Property in the vicinity.

        86.     As a direct and proximate result of International Paper’s conduct in engaging in
the abnormally dangerous activities alleged above, Hazardous Substances, Particulate Matter,
and Noxious Odors were released into the environment from the Facility and onto Plaintiffs’
persons and properties. The harm sustained by Plaintiffs is exactly the kind of harm anticipated,
the possibility of which made International Paper’s activities abnormally dangerous.

        87.     Plaintiffs are entitled to injunctive to relief against International Paper, including,
without limitation, the following:

                     a. Injunctive relief to compel International Paper to remediate the
                         contamination of Plaintiffs’ Property.
                     b. Injunctive relief to prevent further trespass and contamination of
                         Plaintiffs’ Property.

        88.     Plaintiffs are entitled to recover damages from International Paper, including,
without limitation, the following:

                     a. Compensation for assessment of the contamination of Plaintiffs’ Property
                         and remediation of that contamination;
                     b. Compensation for the diminution in value of and stigma to Plaintiffs’
                         Property;
                     c. Compensation for the loss of the use and enjoyment of Plaintiffs’
                         Property;
                     d. Compensation for the annoyance, discomfort, and inconvenience;
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                     f. Punitive damages from International Paper in an amount sufficient to
                         punish International Paper and to deter future misconduct.



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                                         COUNT VIII
                                   FRAUDULENT SUPPRESSION

        89.      Plaintiffs adopt, allege, and incorporate herein by reference all of the averments and
allegations set forth in paragraphs 1 through 88 of this complaint as if fully set forth herein.

        90.      As described above, federal and state environmental statutes and regulations,
industry standards, and Alabama common law create duties on the part of Defendants to disclose,
report, and warn affected communities of potential exposure from the release of Hazardous
Substances, Particulate Matter, and Noxious Odors.

        91.      Plaintiffs were all members of the Prattville Community, a community affected by
the release of Hazardous Substances, Particulate Matter, and Noxious Odors from the Facility
into the environment.         Plaintiffs were therefore members of the community to whom
International Paper owed a duty of disclosure.

        92.      Beginning in 2000, and continuing each year until 2009, International Paper on

information and belief had actual knowledge that the emissions from the Facility could cause

cancer in persons who came into contact with the emissions, that the emissions violated state

and federal law, that the emissions had caused and were causing substantial damage to real

property within two miles of the Facility, and that the emissions were causing personal injury to

persons residing within two miles of the Facility.

        93.       Despite this knowledge, on information and belief, International Paper beginning

in 2000, and continuing each year until 2009, in statements made to the local media, in filings

made to environmental regulators, in statements made to shareholders, and in statements made to

rank and file employees:

              A. falsely represented that the Facility was in full compliance with all state and



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              federal laws, and that the emissions from said Facility did not pose a risk of causing

              cancer or other harm to persons or property within a five mile radius from the

              Facility;

              B. intentionally concealed, and failed to disclose, despite having a mandatory duty to

              do so, the true facts concerning the dangerous emissions from the public in each year.

              The precise date International Paper made each false representation –and the precise

              content of each representation - is totally within the possession and control of the

              Defendant and the Plaintiffs, in the exercise of reasonable diligence, cannot allege the

              false representations, or matters concealed, with more specificity until they obtain

              discovery powers.

        94.       On information and belief, the following employees of International Paper

Beginning in 2000, and continuing each year until 2009, intentionally made these false

representations and concealed the true facts concerning the dangerous emissions from the facility

to prevent the Plaintiffs, and other members of the Prattville Community from learning the true

facts and filing lawsuits, seeking administrative remedies from regulators, and otherwise making

public complaints about the Facility that would reduce International Paper’s stock price or force

International Paper to engage in expensive clean up operations. The names of these employees

are strictly in the possession and control of International Paper but will be identified for purposes

of this pleading as John Does 1-10.

        95.       As a direct result of the false representations alleged in Paragraph 93, and the

concealment and failure to disclose the true facts, each Plaintiff beginning in 2000, and




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continuing each year until 2009, heard, read, or otherwise learned that the Facility was

purportedly in full compliance with all state and federal laws, and that the emissions from said

Facility did not pose a risk of harm to persons or property within a two mile radius from the

Facility.

        96.      In reliance on the false representations made as alleged in Paragraph 93, and the

concealment and failure to disclose the true facts, each Plaintiff, beginning in 2000, and

continuing each year until 2009, took no steps:

              A. To urge, persuade, or by law force International Paper to stop discharging

              Hazardous Substances, Particulate Matter, and Noxious Odors onto their property; as

              a result the property gradually became increasingly contaminated until it is now

              essentially worthless and unsalable

              B. To clean up emissions deposited on their property at the time when the emissions

              could be easily and inexpensively cleaned up; as a result, any clean up efforts taken in

              the future will be far more expensive than such efforts would have been when the

              fraud began;

        97.       In reliance on the false representations made as alleged in Paragraph 93, and the

concealment and failure to disclose the true facts, Plaintiffs, beginning in 2000, and continuing

each year until 2009, took no steps:

              A. To seek diagnosis, medical care, or treatment for the cancer or other diseases

              caused by the emissions; as a result their medical conditions worsened and caused

              them unnecessary pain and suffering; and




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              B. Made no attempt to move away from the Facility to a location where their health

              would no longer be at risk from the emissions; as a result, they stayed within a close

              proximity of the facility and their diseases worsened during this period as a result of

              additional exposure;

        98.      In making the false representations and in concealing the material facts as alleged

in paragraph 93, International Paper:

              A. acted intentionally with the intention of depriving the Plaintiffs of their

              property rights and other legal rights, or with the intention to otherwise

              cause them; or

              B. acted intentionally without just cause or excuse, either:

                 1. With an intent to injure the person or property of
                 another person or entity, or

                 2. Under such circumstances that the law will imply an
                 evil intent; or

              C. engaged in the alleged conduct with a reckless or conscious disregard

              of the rights or safety of the Plaintiffs.

        99.      Plaintiffs are entitled to injunctive relief against International Paper, including,
without limitation, the following:

                     a. Injunctive relief to compel International Paper to remediate the
                         contamination of Plaintiffs’ Property.
                     b. Injunctive relief to prevent further trespass and contamination of
                         Plaintiffs’ Property.


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        100.    Plaintiffs are entitled to recover damages from International Paper, including,
without limitation, the following:

                     c. Compensation for assessment of the contamination of Plaintiffs’ Property
                         and remediation of that contamination;
                     d. Compensation for the diminution in value of and stigma to Plaintiffs’
                         Property;
                     e. Compensation for the loss of the use and enjoyment of Plaintiffs’
                         Property;
                     f. Compensation for the annoyance, discomfort, and inconvenience;
                     g. Compensation for all personal injury suffered and other consequential and
                         incidental damages;
                     h. Punitive damages from International Paper in an amount sufficient to
                         punish International Paper and to deter future misconduct.


                                        Jury Demand and
                                          Ad Damnum
        WHEREFORE, PREMISES CONSIDERED, Plaintiffs hereby demand trial by struck jury
on all of the issues that have been or may hereafter be raised in any of the pleadings, whether filed
by or on behalf of Plaintiffs or International Paper. Plaintiffs further demand judgment for the
following relief:

       Injunctive relief requiring International Paper:

               To refrain from any further release of the Hazardous Substances, Particulate
                Matter, and Noxious Odors from the Facility;
               To conduct an investigation to determine the degree to which the Hazardous
                Substances, Particulate Matter, and Noxious Odors released from the Facility
                have contaminated Plaintiffs’ homes and Property and the entire Prattville
                Community;



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               To conduct an assessment to determine the manner in which they can remediate
                and remove from Plaintiffs’ homes and Property and the entire Prattville
                Community all traces of the Hazardous Substances, Particulate Matter, and
                Noxious Odors that it released from the Facility; and
               To remediate and remove from Plaintiffs’ homes and Property and the entire
                Prattville Community all traces of the Hazardous Substances, Particulate Matter,
                and Noxious Odors that it released from the Facility.

       Compensatory damages in an amount to be assessed by the jury as just and proper, but
        including, without limitation:

               All expenses and economic losses;

               Out-of pocket expenses for clean up and remediation;

               Business losses;

               Loss of income;

               Reasonable and just actual and consequential damages for disruption of Plaintiffs’
                lives, for nuisance, for trespass, and for all other harm suffered by Plaintiffs;

       Punitive damages in an amount to be assessed by the jury as just and proper and in an
        amount sufficient to punish International Paper and to deter future misconduct; and

       Appropriate attorney fees and costs and expenses incurred in connection with the
        litigation of this matter;

       Such other and further relief as the Court deems just and proper.




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        RESPECTFULLY SUBMITTED on this the 21st day of September, 2009.

                                 ATTORNEYS FOR THE PLAINTIFFS


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Exhibt A: Personal Injury
                  Fullname                Diseases
Abbott, Brooke                 Asthma
Abbott, Brooke                 Birth Defect
Abbott, Brooke                 Sinusitis
Adair, Mary Olive              Anemia
Adair, Mary Olive              Hypertension
Adair, Mary Olive              Hysterectomy
Adair, Mary Olive              Thyroid Disease
Adams, Clark Emerson           Anxiety
Adams, Clark Emerson           Depression
Adams, Clark Emerson           Hypertension
Adams, Clark Emerson           Sinusitis
Adams, Julia Mae               Anemia
Adams, Julia Mae               Cancer See Notes
Adams, Julia Mae               Cardiovascular Disease
Adams, Julia Mae               Chronic Bronchitis
Adams, Julia Mae               Diabetes
Adams, Julia Mae               Endometriosis
Adams, Julia Mae               Hypertension
Adams, Julia Mae               Hysterectomy
Adams, Julia Mae               Lung Disease or Disorders
Adams, Julia Mae               Miscarriage
Adams, Melinda Denae           Asthma
Adams, Melinda Denae           Blood Disorder
Adams, Melinda Denae           Bone Diseases
Adams, Melinda Denae           Congestive Heart Failure
Adams, Melinda Denae           COPD
Adams, Melinda Denae           Depression
Adams, Melinda Denae           Diabetes
Adams, Melinda Denae           Hypertension
Adams, Melinda Denae           Lung Disease or Disorders
Adams, Melinda Denae           Lupus
Adams, Melinda Denae           Miscarriage
Adams, Tangela Latasha         Hypertension
Adams, Tangela Latasha         Migraines
Adams, Tangela Latasha         Thyroid Disease
Adams, Tangela Latasha         Upper Respiratory Infection
Adams, Torrence Rondell        Mental Retardation
Adams, Torrence Rondell        Muscular Dystrophy
Adams, Torrence Rondell        Rheumatoid Arthritis
Albert, Gill, Sr.              Anemia
Albert, Gill, Sr.              Bone Diseases
Albert, Gill, Sr.              Cardiovascular Disease
Albert, Gill, Sr.              Diabetes
Albert, Gill, Sr.              Hypertension
Albert, Gill, Sr.              Kidney Disease or Disorder
Albert, Ruby Lee               Arthritis
Albert, Ruby Lee               Hypertension
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Albright, Crystal D.          Diabetes
Albright, Ethel Lee           Heart Attack
Albright, Ethel Lee           Hypertension
Albright, Joesph              Autoimmune Disorders
Albright, Joesph              Diabetes
Albright, Joesph              Hypercholesterolemia
Albright, Joesph              Sinusitis
Albright, John Wesley         Hypertension
Albright, Kenneth Jerome      Hypertension
Albright, Sadie Mae           Bone Diseases
Albright, Sadie Mae           Cardiovascular Disease
Albright, Sadie Mae           Diabetes
Albright, Sadie Mae           Fibroid Tumors
Albright, Sadie Mae           Hypertension
Albright, Sadie Mae           Hysterectomy
Anderson, Dorothy Myers       Anemia
Anderson, Dorothy Myers       Fibroid Tumors
Anderson, Dorothy Myers       Hyperlipidemia
Anderson, Dorothy Myers       Hypertension
Anderson, Dorothy Myers       Sarcoidosis
Anderson, Gwendolyn Gail      Anemia
Anderson, Gwendolyn Gail      Asthma
Anderson, Gwendolyn Gail      Congestive Heart Failure
Anderson, Gwendolyn Gail      Diabetes
Anderson, Gwendolyn Gail      Endometriosis
Anderson, Gwendolyn Gail      Fibroid Tumors
Anderson, Gwendolyn Gail      Hypertension
Anderson, Gwendolyn Gail      Hysterectomy
Anderson, Gwendolyn Gail      Psychiatric Disease/Disorder
Anderson, Hazell              Bone Diseases
Anderson, Hazell              Hypertension
Anderson, Hazell              Rheumatoid Arthritis
Anderson, Helen               Asthma
Anderson, Helen               Cardiovascular Disease
Anderson, Helen               Chronic Bronchitis
Anderson, Helen               Diabetes
Anderson, Helen               Emphysema
Anderson, Helen               Fibroid Tumors
Anderson, Helen               Hypertension
Anderson, Helen               Hysterectomy
Anderson, Helen               Multiple Sclerosis
Anderson, Kevin Patrick       Bone Diseases
Anderson, Kevin Patrick       Diabetes
Anderson, Kevin Patrick       Hypertension
Anderson, Kevin Patrick       Sarcoidosis
Anderson, Robert L., Jr.      Hypertension
Arrington, Carolyn W.         Bone Diseases
Arrington, Carolyn W.         Diabetes
Arrington, Carolyn W.         Thyroid Disease
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Arthur, Shirley M.            Bone Diseases
Arthur, Shirley M.            Cardiovascular Disease
Arthur, Shirley M.            Hypertension
Arthur, Shirley M.            Hysterectomy
Barnett, Sheila Ann           Asthma
Bates, Alberta Richards       Fibroid Tumors
Bates, Alberta Richards       Hysterectomy
Bates, Everleon Howard        Asthma
Bates, Everleon Howard        Diabetes
Bates, Everleon Howard        Hysterectomy
Bates, Everleon Howard        Kidney Disease or Disorder
Bates, Georgianna             Asthma
Bates, Georgianna             Fibroid Tumors
Bates, Herman Charles, Sr.    Hypertension
Bates, Herman Charles, Sr.    Prostate Cancer
Bates, Jerry Lee              Bone Diseases
Bates, Jerry Lee              Chronic Bronchitis
Bates, Jerry Lee              Hypertension
Bates, Otelia                 Rheumatoid Arthritis
Benefield, Madge G.           Emphysema
Benefield, Madge G.           Hysterectomy
Benefield, Madge G.           Parkinson's Disease
Benefield, Madge G.           Thyroid Disease
Beringer, Hazel               Asthma
Beringer, Hazel               Chronic Bronchitis
Beringer, Hazel               Hypertension
Beringer, Jeff                No Diagnosis
Blue, Essie Mae               Anemia
Blue, Essie Mae               Bladder Cancer
Blue, Essie Mae               Diabetes
Blue, Essie Mae               Hypertension
Blue, Madgeline Coleman       Anemia
Blue, Madgeline Coleman       Asthma
Blue, Madgeline Coleman       COPD
Blue, Madgeline Coleman       Fibroid Tumors
Blue, Madgeline Coleman       Hypertension
Blue, Madgeline Coleman       Rheumatoid Arthritis
Blue, Tyrone Gregory          Diabetes
Blue, Tyrone Gregory          Hypertension
Bonner, Sandra Lynett         Bone Diseases
Bonner, Sandra Lynett         Diabetes
Bonner, Sandra Lynett         Hypertension
Bonner, Sandra Lynett         Miscarriage
Bowman, Johnny L.             Hypertension
Bowman, Johnny L.             Non-cancerous Tumors
Bowman, Lillie Mae            Anemia
Bowman, Lillie Mae            Fibroid Tumors
Bowman, Lillie Mae            Hypertension
Bowman, Lillie Mae            Hysterectomy
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Bowman, Lillie Mae            Migraines
Bowman, Lillie Mae            Rheumatoid Arthritis
Bowman, Rosemary D.           Anemia
Bowman, Rosemary D.           Fibroid Tumors
Bowman, Rosemary D.           Hysterectomy
Bowman, Victoria Jackson      Sinus Trouble / Allergies
Bowman, Rosemary D.           Skin Cancer
Brantley, Sylvia D.           Fibroid Tumors
Brantley, Sylvia D.           Hypertension
Brantley, Sylvia D.           Hysterectomy
Brantley, Thomas L.           Prostate Cancer
Brantley, Thomas L.           Throat Cancer
Brooks, Frank, Jr.            Blood Disorder
Brooks, Frank, Jr.            Hyperlipidemia
Brooks, Frank, Jr.            Hypertension
Brooks, Frank, Jr.            Skin Conditions
Brooks, Ivory Lee             ADHD
Brooks, Ivory Lee             Asthma
Brooks, Rodney Leonard        Birth Defect
Brooks, Rodney Leonard        Hypertension
Brooks, Rodney Leonard        Sarcoidosis
Brooks, Rodney Leonard        Upper Respiratory Infection
Brooks, Theresa               Colon Cancer
Brooks, Theresa               Fibroid Tumors
Brooks, Virginia A.           Fibroid Tumors
Brooks, Virginia A.           Hypertension
Brooks, Virginia A.           Hysterectomy
Brown, Amond Terique          Asthma
Brown, Demetric Antionne      Chronic Bronchitis
Brown, Edna Rena              Breast Cancer
Brown, Edna Rena              Bronchitis
Brown, Edna Rena              Chronic Bronchitis
Brown, Edna Rena              Diabetes
Brown, Edna Rena              Fibroid Tumors
Brown, Edna Rena              Hypertension
Brown, Edna Rena              Non-cancerous Tumors
Brown, Juliet                 Anemia
Brown, Juliet                 Asthma
Brown, Juliet                 Bone Diseases
Brown, Juliet                 Cardiac Arrhythmia
Brown, Juliet                 Cardiovascular Disease
Brown, Juliet                 Chronic Bronchitis
Brown, Juliet                 Hypertension
Brown, Juliet                 Rheumatoid Arthritis
Brown, Minnie Pearl           Dental Disease
Brown, Minnie Pearl           Fibroid Tumors
Brown, Minnie Pearl           Hypertension
Brown, Minnie Pearl           Hysterectomy
Brown, Robert                 No Diagnosis
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Brown, Stanzell Deonate         Asthma
Brown, Stanzell Deonate         Learning Disorder
Brown, Stanzell Deonate         Skin Conditions
Burt, Beverly Lynn              Asthma
Burt, Beverly Lynn              Hysterectomy
Burt, Beverly Lynn              Thyroid Disease
Burt, Martha L.                 Cardiovascular Disease
Burt, Martha L.                 Hypertension
Burt, Martha L.                 Rheumatoid Arthritis
Burt, Michael Shan              Hypertension
Burt, Timothy                   Hypertension
Burt, Timothy                   Psychiatric Disease/Disorder
Burt, Timothy                   Rheumatoid Arthritis
Cain, Jo Ann                    Bronchitis
Cain, Jo Ann                    Dental Disease
Cain, Jo Ann                    Hysterectomy
Cain, Jo Ann                    Ovarian Cancer
Carroll, Beverly Jean Pickett   Asthma
Carroll, Beverly Jean Pickett   Birth Defect
Carroll, Beverly Jean Pickett   Bronchitis
Carroll, Beverly Jean Pickett   Fibroid Tumors
Carroll, Beverly Jean Pickett   Hypertension
Clay, Carlton                   Hypertension
Clay, Carlton                   Prostate Cancer
Coley, Elaine Morris            Anemia
Coley, Elaine Morris            Cervical Cancer
Coley, Elaine Morris            Fibroid Tumors
Coley, Elaine Morris            Hypertension
Coley, Elaine Morris            Miscarriage
Cook, Freddie Lee               Asthma
Cook, Freddie Lee               Chronic Bronchitis
Cook, Freddie Lee               COPD
Cook, Freddie Lee               Emphysema
Cottle, Cheryl Ann Nash         Asthma
Cottle, Cheryl Ann Nash         Cervical Cancer
Cottle, Cheryl Ann Nash         Endometriosis
Cottle, Cheryl Ann Nash         Fibroid Tumors
Cottle, Cheryl Ann Nash         Hysterectomy
Cottle, Cheryl Ann Nash         Osteoporosis
Cottle, Terry Dwayne            Asthma
Cottle, Terry Dwayne            Birth Defect
Cottle, Terry Dwayne            Birth Defect
Cottle, Terry Dwayne            Cerebral Palsy
Cottle, Terry Dwayne            Hypertension
Cottle, Terry Dwayne            Kidney Problems
Cottle, Terry Dwayne            Learning Disorder
Cottle, Terry Dwayne            Leukemia
Cottle, Terry Dwayne            Mental Retardation
Cowling, Mildred                Asthma
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Cowling, Mildred               Dental Disease
Cowling, Mildred               Diabetes
Cowling, Mildred               Hypertension
Cowling, Mildred               Lymphoma
Cowling, Mildred               Stillbirth
Crawford, Richard Lee          Hypertension
Cromer, George Willis          Asthma
Cromer, George Willis          Bone Diseases
Cromer, George Willis          Cardiovascular Disease
Cromer, George Willis          Chronic Bronchitis
Cromer, George Willis          COPD
Cromer, George Willis          Diabetes
Cromer, George Willis          Emphysema
Cromer, George Willis          Heart Attack
Cromer, George Willis          Hypertension
Cromer, George Willis          Learning Disorder
Cutler, Deloise Jean           Asthma
Cutler, Deloise Jean           Bone Diseases
Cutler, Deloise Jean           Endometrial Cancer
Cutler, Deloise Jean           Ovarian Cancer
Cutler, Deloise Jean           Uterine Cancer
Cutler, Teresa Wright          Diabetes
Cutler, Teresa Wright          Fibroid Tumors
Cutler, Teresa Wright          Hypertension
Cutler, Teresa Wright          Hysterectomy
Cutler, Teresa Wright          Rheumatoid Arthritis
Cutler, Walter Matthew, Jr.    Cardiovascular Disease
Cutler, Walter Matthew, Jr.    Dental Disease
Cutler, Walter Matthew, Jr.    Diabetes
Cutler, Walter Matthew, Jr.    Hypertension
Daniels, Leanna W.             Asthma
Daniels, Leanna W.             Breast Cancer
Daniels, Leanna W.             Diabetes
Davidson, Viola E.             Anemia
Davidson, Viola E.             Asthma
Davidson, Viola E.             Bronchitis
Davidson, Viola E.             Diabetes
Davidson, Viola E.             Hypertension
Davidson, Viola E.             Hysterectomy
Davidson, Viola E.             Migraines
Davidson, Viola E.             Rheumatoid Arthritis
Davis, Bettye Jean             Diabetes
Davis, Bettye Jean             Fibroid Tumors
Davis, Bettye Jean             Hypertension
Davis, Bettye Jean             Hysterectomy
Davis, Daisy Maria             Anemia
Davis, Daisy Maria             Asthma
Davis, Daisy Maria             COPD
Davis, Daisy Maria             Diabetes
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Davis, Daisy Maria               Thyroid Disease
Davis, Elizabeth Lamar           Asthma
Davis, Elizabeth Lamar           Diabetes
Davis, Elizabeth Lamar           Hypertension
Davis, Elizabeth Lamar           Kidney Disease or Disorder
Davis, Jessie                    COPD
Davis, Jimmy Lee, Jr.            Muscle Disease/Disorder
Davis, Lanetta S.                Asthma
Davis, Lanetta S.                Fibroid Tumors
Davis, Lanetta S.                Heart Murmur
Davis, Lanetta S.                Hypertension
Davis, Lanetta S.                Rheumatoid Arthritis
Davis, Martha Key                Bone Diseases
Davis, Martha Key                Diabetes
Davis, Martha Key                Hypertension
Davis, Martha Key                Hysterectomy
Davis, Martha Key                Non-cancerous Tumors
Davis, Maurice A.                Respiratory Disorder
Davis, Ollie B.                  Bone Diseases
Davis, Ollie B.                  Diabetes
Davis, Ollie B.                  Fibroid Tumors
Davis, Ollie B.                  Hypertension
Davis, Ollie B.                  Rheumatoid Arthritis
Davis, Sandra Annetta            Sinusitis
Davis, Vanessa Warren            Sinusitis
Debardelaben, Deshannon Nikole   Down's Syndrome
Debardelaben, Deshannon Nikole   Mental Retardation
Deramus, Barbara Ann             Asthma
Deramus, Barbara Ann             Chronic Bronchitis
Deramus, Barbara Ann             Hypertension
Deramus, Barbara Ann             Thyroid Disease
Deramus, Bernice C.              Anemia
Deramus, Bernice C.              Fibroid Tumors
Deramus, Bernice C.              Hypertension
Deramus, Bernice C.              Hysterectomy
Deramus, Bernice C.              Kidney Disease or Disorder
Deramus, Bernice C.              Rheumatoid Arthritis
Deramus, Bernice C.              Thyroid Disease
Deramus, Hattie Mae              Anemia
Deramus, Hattie Mae              Hypertension
Deramus, Hattie Mae              Hysterectomy
Deramus, Hattie Mae              Learning Disorder
Deramus, Hattie Mae              Osteoporosis
Deramus, Kendra Marie            Asthma
Deramus, Kendra Marie            Cerebral Palsy
Deramus, Kendra Marie            Chronic Bronchitis
Deramus, Lonzell                 Diabetes
Deramus, Lonzell                 Hypertension
Deramus, Lonzell                 Hypothyroidism
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Douglas, Freddie A.             Heart Attack
Douglas, La'tasha Denise        Asthma
Dunnigan, Derrick Tyrone, Jr.   Asthma
Dunnigan, Derrick Tyrone, Jr.   Skin Conditions
Ellis, Jabari                   Cardiovascular Disease
Ellis, Jabari                   Hypertension
Ellis, Jabari                   Lupus
Ellis, Mary                     Hypertension
Faison, Melinda Renee           Asthma
Ford, Deanthony K.              Speech Delay
Frieson, Jennie Mae             Birth Defect
Frieson, Jennie Mae             Bone Diseases
Frieson, Jennie Mae             Cardiovascular Disease
Frieson, Jennie Mae             Hypertension
Frieson, Jennie Mae             Hysterectomy
Gardner, Davarius R.            A.D.D.
Gardner, Davarius R.            Asthma
Gardner, Shukita D.             Thyroid Problems
Gardner, Techerisma La' Toya    Leukemia
Garrett, Jayne Yarbrough        Colon Cancer
George, Ella C.                 Bone Diseases
George, Ella C.                 Bronchitis
George, Ella C.                 Diabetes
George, Ella C.                 Hypertension
George, Ella C.                 Hysterectomy
Gibbons, Evelyn Jean            Fibroid Tumors
Gibbons, Rebecca                Hypertension
Gibbons, Rebecca                Miscarriage
Gibbons, Rebecca                Rheumatoid Arthritis
Gibbons, Thomas Earl            Bronchitis
Gibbons, Thomas Earl            Hypertension
Gibbons, Willie Dorsey          Bone Diseases
Gibbons, Willie Dorsey          Brain Disorder
Gibbons, Willie Dorsey          Cardiovascular Disease
Gibbons, Willie Dorsey          COPD
Gibbons, Willie Dorsey          Diabetes
Gibbons, Willie Dorsey          Heart Attack
Gibbons, Willie Dorsey          Hypertension
Gill, Laerica Detrine           Bronchitis
Gill, Laerica Detrine           Premature Menopause
Gipson, Eddie Lee               Stomach Cancer
Gipson, Gracie Mae              Asthma
Gipson, Gracie Mae              COPD
Gipson, Gracie Mae              Diabetes
Gipson, Gracie Mae              Hypertension
Gipson, Gracie Mae              Thyroid Disease
Gipson, Rosa L.                 Cardiovascular Disease
Gipson, Rosa L.                 Diabetes
Gipson, Rosa L.                 Fibroid Tumors
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Gipson, Rosa L.               Heart Attack
Gipson, Rosa L.               Hypertension
Gipson, Rosa L.               Hysterectomy
Gipson, Rosa L.               Kidney Failure
Gipson, Tommy Lee, Jr.        Birth Defect
Gipson, Tommy Lee, Jr.        Chronic Bronchitis
Gipson, Tommy Lee, Jr.        Diabetes
Gipson, Tommy Lee, Jr.        Hypertension
Gipson, Tommy Lee, Sr.        Cardiovascular Disease
Gipson, Tommy Lee, Sr.        Diabetes
Gipson, Tommy Lee, Sr.        Hypertension
Gipson, Tommy Lee, Sr.        Lung Disease or Disorders
Gipson, Tommy Lee, Sr.        Rheumatoid Arthritis
Griffis, Tracy Lee            Bladder Cancer
Harbison, Mary Jackson        Diabetes
Harbison, Mary Jackson        Hypertension
Harbison, Mary Jackson        Uterine Cancer
Hardy, Annie J.               Hypertension
Hardy, Hattie Pearl           Asthma
Hardy, Hattie Pearl           Cardiovascular Disease
Hardy, Hattie Pearl           Chronic Bronchitis
Hardy, Hattie Pearl           COPD
Hardy, Hattie Pearl           Diabetes
Hardy, Hattie Pearl           Hypertension
Hardy, Hattie Pearl           Hysterectomy
Hauswirth, Regina Faye        No Diagnosis
Hines, Arby Lee               Prostate Cancer
Hines, Kay W.                 Asthma
Hines, Kay W.                 Breast Cancer
Hines, Kay W.                 Hypertension
Hines, Kay W.                 Rheumatoid Arthritis
Howard, Johnnie L.            Migraines
Hunter, Gladys Marie          Anemia
Hunter, Gladys Marie          Asthma
Hunter, Gladys Marie          Chronic Bronchitis
Hunter, Gladys Marie          Diabetes
Hunter, Gladys Marie          Fibroid Tumors
Hunter, Gladys Marie          Hypertension
Hunter, Gladys Marie          Hysterectomy
Ingram, Paulette              Hypertension
Jackson, Elanda Marie         Asthma
Jackson, Elanda Marie         Bone Diseases
Jackson, Elanda Marie         Fibrocystic Breasts
Jackson, Elanda Marie         Fibroid Tumors
Jackson, Elanda Marie         Hypertension
Jackson, Elanda Marie         Migraines
Jackson, Elanda Marie         Sinusitis
Jackson, Freddie              Bronchitis
Jackson, Freddie              Congestive Heart Failure
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Jackson, Freddie              COPD
Jackson, Freddie              Diabetes
Jackson, Freddie              Hypertension
Jackson, Freddie              Renal Failure
Jackson, Janice Gibbons       Breast Cancer
Jackson, Mary Alberta         Anemia
Jackson, Mary Alberta         Chronic Bronchitis
Jackson, Mary Alberta         Rheumatoid Arthritis
Jackson, Mattie Myers         Anemia
Jackson, Mattie Myers         Hypertension
Jackson, Ray Charles          Diabetes
Jackson, Ray Charles          Hypertension
Jackson, Ruby Pearl           Heart Murmur
Jackson, Ruby Pearl           Hypertension
Jackson, Scottie V.           Asthma
Jackson, Scottie V.           Diabetes
Jackson, Scottie V.           Hypertension
Jackson, Scottie V.           Rheumatoid Arthritis
Jackson, Ulysses, Sr.         Cardiovascular Disease
Jackson, Ulysses, Sr.         Hypertension
Jackson, Viola D.             Fibroid Tumors
Jackson, Viola D.             Hypertension
Jackson, Viola D.             Hysterectomy
Jackson, Viola D.             Rheumatic Heart Disease
James, Leonard, Jr.           Non-cancerous Tumors
James, Leonard, Jr.           Skin Conditions
James, Leonard, Sr.           Hypertension
James, Leonard, Sr.           Prostate Cancer
James, Mary Ethel             Bone Diseases
James, Mary Ethel             Cardiovascular Disease
James, Mary Ethel             Chronic Bronchitis
James, Mary Ethel             Diabetes
James, Mary Ethel             Hypertension
James, Mary Ethel             Thyroid Disease
James, Mary Ethel             Uterine Cancer
James, Reggie                 Dental Disease
James, Reggie                 Hypertension
James, Reggie                 Learning Disorder
Jenkins, Jessie Pearl         Asthma
Jenkins, Jessie Pearl         Bone Diseases
Jenkins, Jessie Pearl         Chronic Bronchitis
Jenkins, Jessie Pearl         Diabetes
Jenkins, Jessie Pearl         Fibroid Tumors
Jenkins, Jessie Pearl         Heart Attack
Jenkins, Jessie Pearl         Hypertension
Jenkins, Jessie Pearl         Hysterectomy
Johnson, Annie Ree            Diabetes
Johnson, Annie Ree            Kidney / Renal insufficiency
Johnson, Bertha Mae           Cardiovascular Disease
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Johnson, Bertha Mae           Diabetes
Johnson, Bertha Mae           Hypertension
Johnson, Bertha Mae           Hysterectomy
Johnson, Bertha Mae           Rheumatoid Arthritis
Johnson, Bruce O'Neal         Diabetes
Johnson, Bruce O'Neal         Hypertension
Johnson, Bruce O'Neal         Kidney Disease or Disorder
Johnson, Mattie Jean          No Diagnosis
Johnson, Peggy Northington    Dental Disease
Johnson, Peggy Northington    Diabetes
Johnson, Peggy Northington    Hypertension
Johnson, Peggy Northington    Miscarriage
Johnson, Shadel               Anxiety
Johnson, Shadel               Fibroid Tumors
Johnson, Shadel               Hypertension
Johnson, Shadel               Hysterectomy
Jones, Armonee Lashaun        Asthma
Jones, Julia Lee              Anemia
Jones, Julia Lee              Cardiac Arrhythmia
Jones, Julia Lee              Kidney Failure
Jones, Julia Lee              Ovarian Cancer
Jones, Mary Louise            Asthma
Jones, Mary Louise            Bone Diseases
Jones, Mary Louise            Chronic Bronchitis
Jones, Mary Louise            Fibroid Tumors
Jones, Mary Louise            Hysterectomy
Kellum, Annie Pearl           Anemia
Kellum, Annie Pearl           Colon Cancer
Kellum, Annie Pearl           Hypertension
Kellum, Annie Pearl           Miscarriage
Kent, Dericco Antonio         Asthma
Kent, Dericco Antonio         Chronic Bronchitis
Kent, Dericco Antonio         Heart Murmur
Kent, Dericco Antonio         Learning Disorder
Kirby, Alford Randolph        Hypertension
Krause, Arthur Francis        Asthma
Krause, Arthur Francis        Bone Diseases
Krause, Arthur Francis        COPD
Krause, Arthur Francis        Testicular Cancer
Krause, Glenda Ann            Chronic Bronchitis
Krause, Glenda Ann            COPD
Krause, Glenda Ann            Endometriosis
Krause, Glenda Ann            Fibroid Tumors
Krause, Glenda Ann            Hysterectomy
Krause, Glenda Ann            Miscarriage
Krause, Glenda Ann            Rheumatoid Arthritis
Krause, Glenda Ann            Thyroid Problems
Lamar, Jereline               Cardiovascular Disease
Lamar, Jereline               Diabetes
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Lamar, Jereline               Hyperlipidemia
Lamar, Jereline               Hypertension
Lamar, Jereline               Miscarriage
Lamar, Jereline               Rheumatoid Arthritis
Lamar, Michael Lane           Birth Defect
Lamar, Michael Lane           Hypertension
Laskey, Bernice Mary          Bone Diseases
Laskey, Bernice Mary          Cervical Cancer
Laskey, Bernice Mary          Diabetes
Laskey, Bernice Mary          Hypertension
Laskey, Bernice Mary          Hysterectomy
Laskey, Bernice Mary          Ovarian Cancer
Laskey, Bernice Mary          Rheumatoid Arthritis
Lawson, Joyce Ann             Hypertension
Lawson, Joyce Ann             Uterine Cancer
Lee, Jiles, Jr.               Chronic Bronchitis
Lee, Jiles, Jr.               Cirrhosis of Liver
Lee, Jiles, Jr.               Hyperlipidemia
Lee, Jiles, Jr.               Hypertension
Lee, Jiles, Jr.               Rheumatoid Arthritis
Lee, Jiles, Jr.               Thyroid Problems
Lewis, Georgia Mae            Asthma
Lewis, Georgia Mae            Chronic Bronchitis
Lewis, Georgia Mae            Hypertension
Long, Eula Hinkle             Blood Disorder
Long, Eula Hinkle             Bone Diseases
Long, Eula Hinkle             Chloracne
Long, Eula Hinkle             Diabetes
Long, Eula Hinkle             Hypertension
Long, Eula Hinkle             Hysterectomy
Long, Eula Hinkle             Miscarriage
Long, Eula Hinkle             Thyroid Disease
Long, James Thomas, Jr.       Birth Defect
Long, James Thomas, Jr.       Bone Diseases
Long, James Thomas, Sr.       Anemia
Long, James Thomas, Sr.       Cardiac Arrhythmia
Long, James Thomas, Sr.       Cardiovascular Disease
Long, James Thomas, Sr.       Chronic Bronchitis
Long, James Thomas, Sr.       COPD
Long, James Thomas, Sr.       Diabetes
Long, James Thomas, Sr.       Hypertension
Long, James Thomas, Sr.       Lung Disease or Disorders
Long, James Thomas, Sr.       Rheumatoid Arthritis
Long, Kanesha Nicole          Anemia
Long, Kanesha Nicole          Stillbirth
Love, Delores Taylor          Dental Disease
Love, Delores Taylor          Diabetes
Love, Delores Taylor          Hypertension
Love, Delores Taylor          Muscle Disease/Disorder
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Lovejoy, Lamarius L.           Asthma
Lovejoy, Lamarius L.           Diabetes
Lovejoy, Pamela Renee          Diabetes
Lovejoy, Pamela Renee          Fibroid Tumors
Lovejoy, Pamela Renee          Hypertension
Lovejoy, Pamela Renee          Hysterectomy
Lovejoy, Pamela Renee          Psychiatric Disease/Disorder
Lucas, Annie Marie             Fibroid Tumors
Lucas, Annie Marie             Hypertension
Manora, Ethel Mae              Hypertension
Manora, Ethel Mae              Miscarriage
Marshall, Bessie Lee           Breast Cancer
Marshall, Bessie Lee           Ovarian Cancer
Mcafee, Dakota Joe             Autism
Mcafee, Dakota Joe             Learning Disorder
McKeithen, Josie Elaine        Anemia
McKeithen, Josie Elaine        Cardiovascular Disease
McKeithen, Josie Elaine        Fibrocystic Breasts
McKeithen, Josie Elaine        Heart Attack
McKeithen, Josie Elaine        Hypertension
McLemore, John Henry           Anemia
McLemore, John Henry           Cardiovascular Disease
McLemore, John Henry           Diabetes
McLemore, John Henry           Heart Attack
McLemore, John Henry           Hypertension
McLemore, John Henry           Rheumatoid Arthritis
McLemore, Lillie R.            Diabetes
McLemore, Lillie R.            Heart Murmur
McLemore, Lillie R.            Rheumatoid Arthritis
McQueen, Vivian Antionette     Asthma
McQueen, Vivian Antionette     Blood Disorder
McQueen, Vivian Antionette     Chronic Bronchitis
McQueen, Vivian Antionette     Endometriosis
Meredith, George Jeffrey       Sarcoidosis
Merriweather, Barbara A.       Anemia
Merriweather, Barbara A.       Cardiovascular Disease
Merriweather, Barbara A.       Diabetes
Merriweather, Barbara A.       Hypertension
Merriweather, Barbara A.       Lupus
Merriweather, Barbara A.       Peripheral Neuropathy
Merriweather, Barbara A.       Renal Failure
Merriweather, Barbara A.       Thyroid Disease
Merriweather, Michael Keith    Asthma
Merriweather, Michael Keith    Bone Diseases
Merriweather, Michael Keith    Chronic Bronchitis
Merriweather, Michael Keith    COPD
Merriweather, Michael Keith    Hypertension
Merriweather, Michael Keith    Sarcoidosis
Mitchell, Catherine            Hypertension
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Moore, Dina Faye               Hypertension
Moore, Dina Faye               Rheumatoid Arthritis
Moore, Dina Faye               Thyroid Disease
Moore, Josephine               Diabetes
Moore, Josephine               Hypertension
Moore, Josephine               Migraines
Moore, Nellie Jean             Diabetes
Moore, Nellie Jean             Hypertension
Moseley, Kyriesha Sha'kira     Migraines
Moseley, Stanley Devonta       Asthma
Mosely, Lorenza                Emphysema
Mosley, Katie Bell             Diabetes
Mosley, M.L., Jr.              Prostate Cancer
Motley, Grailen Levell         Bone Diseases
Motley, Grailen Levell         COPD
Motley, Grailen Levell         Depression
Motley, Grailen Levell         Hypertension
Motley, Grailen Levell         Non-cancerous Tumors
Motley, Grailen Levell         Rheumatoid Arthritis
Motley, Nellie G.              Hypertension
Motley, Willie L.              Hypertension
Myers, Gayle Wadsworth         Emphysema
Myers, Gayle Wadsworth         Fibroid Tumors
Myers, Gayle Wadsworth         Hypertension
Myers, Gayle Wadsworth         Hysterectomy
Myers, James Scott             Hypertension
Myers, Tanner Wadsworth        Asthma
Myers, Tanner Wadsworth        Upper Respiratory Infection
O'Neal, Georgia                Bone Diseases
O'Neal, Georgia                Bronchitis
O'Neal, Georgia                COPD
O'Neal, Georgia                Fibroid Tumors
O'Neal, Georgia                Hypertension
O'Neal, Georgia                Hypertension
Owens, Denise Clark            Anemia
Owens, Denise Clark            Bronchitis
Owens, Denise Clark            COPD
Owens, Denise Clark            Fibroid Tumors
Owens, Denise Clark            Hysterectomy
Owens, Denise Clark            Sinusitis
Palmer, Dianne Moseley         Anemia
Palmer, Dianne Moseley         Bone Diseases
Palmer, Dianne Moseley         Fibroid Tumors
Palmer, Dianne Moseley         Hypertension
Palmer, Dianne Moseley         Hysterectomy
Palmer, Dianne Moseley         Migraines
Palmer, Dianne Moseley         Rheumatoid Arthritis
Parker, Ben, Sr.               Cardiovascular Disease
Parker, Ben, Sr.               Hypertension
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Parker, Ethel L.               Anemia
Parker, Ethel L.               Diabetes
Parker, Ethel L.               Fibroid Tumors
Parker, Ethel L.               Heart Murmur
Parker, Ethel L.               Hypertension
Parker, Ethel L.               Rheumatoid Arthritis
Parks, Connie Hudson           Endometriosis
Parks, Connie Hudson           Sarcoidosis
Parks, Deborah Anita           Cervical Cancer
Parks, Deborah Anita           Rheumatic Heart Disease
Parks, Deborah Anita           Rheumatoid Arthritis
Parks, Marquita Denise         Cerebral Palsy
Peagler, Willie Lee            Asthma
Peagler, Willie Lee            Hypertension
Pickett, Alice Mae             Chronic Bronchitis
Pickett, Alice Mae             Diabetes
Pickett, Alice Mae             Heart Attack
Pickett, Alice Mae             Hypertension
Pickett, Alice Mae             Psychiatric Disease/Disorder
Pickett, Graves                Cardiovascular Disease
Pickett, Graves                Esophageal Cancer
Pickett, Graves                Heart Attack
Pickett, Graves                Hypertension
Pickett, Graves                Larynx Cancer
Pickett, Graves                Lung Cancer
Pickett, Graves                Lung Disease or Disorders
Pickett, Graves                Oral Cancer
Pickett, Graves                Stomach Cancer
Pickett, Jessie T.             Cardiovascular Disease
Pickett, Jessie T.             Hypertension
Pickett, Jessie T.             Hysterectomy
Pickett, Kimberly Nikole       Cardiovascular Disease
Pickett, Kimberly Nikole       Endometriosis
Pickett, Kimberly Nikole       Hysterectomy
Pickett, Patricia Delois       Chronic Bronchitis
Pickett, Patricia Delois       Fibroid Tumors
Pickett, Patricia Delois       Sarcoidosis
Pickett, Shannon Ledel         Anemia
Pickett, Shannon Ledel         Diabetes
Pickett, Shannon Ledel         Fibroid Tumors
Pickett, Terella               Diabetes
Pickett, Terella               Fibroid Tumors
Pickett, Terella               Hypertension
Pickett, Valerie D.            Endometriosis
Pickett, Valerie D.            Fibroid Tumors
Pickett, Valerie D.            Hypertension
Pickett, Valerie D.            Hysterectomy
Pickett, Valerie D.            Kidney Problems
Pickett, Willie J.             Birth Defect
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Pickett, Willie J.            Bone Diseases
Poon, Tybee Lynn              Anemia
Poon, Tybee Lynn              Asthma
Poon, Tybee Lynn              Bronchitis
Poon, Tybee Lynn              Diabetes
Poon, Tybee Lynn              Fibroid Tumors
Poon, Tybee Lynn              Thyroid Problems
Powell, Belinda Jean          Fibroid Tumors
Powell, Belinda Jean          Hysterectomy
Powell, Belinda Jean          Thyroid Problems
Rawlinson, Roderick Deromeo   Birth Defect
Reese, Denise                 Hysterectomy
Reese, Denise                 Learning Disorder
Reese, Denise                 Lupus
Reese, Denise                 Rheumatoid Arthritis
Rice, Oretta Earnestine       Fibroid Tumors
Rice, Oretta Earnestine       Hypertension
Robinson, Angela Rene         Anemia
Robinson, Angela Rene         Hypertension
Robinson, Angela Rene         Psychiatric Disease/Disorder
Robinson, Angela Rene         Rheumatoid Arthritis
Robinson, Barbara A           Bronchitis
Robinson, Barbara A           Hypertension
Robinson, Barbara A           Sinusitis
Robinson, Debra Elaine        Diabetes
Robinson, Debra Elaine        Hypertension
Robinson, Kelsey Marlana      Asthma
Robinson, Kobe Edward         Asthma
Robinson, Maria C.            Anemia
Robinson, Maria C.            Asthma
Robinson, Maria C.            Chronic Bronchitis
Robinson, Maria C.            Dental Disease
Robinson, Maria C.            Hypertension
Robinson, Mary Alice          Cardiac Arrhythmia
Robinson, Mary Alice          Cardiovascular Disease
Robinson, Mary Alice          Diabetes
Robinson, Mary Alice          Hypertension
Robinson, Quincy Lemond       Asthma
Robinson, Robert Lee          Diabetes
Robinson, Robert Lee, Jr.     Cardiovascular Disease
Robinson, Robert Lee, Jr.     Diabetes
Robinson, Robert Lee, Jr.     Hypertension
Robinson, Sinda Williams      Asthma
Robinson, Sinda Williams      Depression
Robinson, Sinda Williams      Fibroid Tumors
Robinson, Sinda Williams      Hypertension
Robinson, Stacy Renard        Bronchitis
Robinson, Stacy Renard        Hypertension
Robinson, Stacy Renard        Rheumatoid Arthritis
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Robinson, Willie Mae          Bone Diseases
Robinson, Willie Mae          Fibroid Tumors
Robinson, Willie Mae          Hypertension
Robinson, Willie Mae          Hysterectomy
Rogers, Larry Charles         Asthma
Rogers, Larry Charles         Chronic Bronchitis
Rogers, Larry Charles         Hypertension
Rogers, Larry Charles         Skin Cancer
Rogers, Ruby                  Diabetes
Rogers, Ruby                  Hypertension
Rogers, Ruby                  Kidney Disease or Disorder
Rudolph, Amanda Denise        Anemia
Rudolph, Amanda Denise        Miscarriage
Rudolph, Amanda Denise        Ovarian Cancer
Rudolph, Lucy Mae             Anemia
Rudolph, Lucy Mae             Asthma
Rudolph, Lucy Mae             Depression
Rudolph, Lucy Mae             Fibroid Tumors
Rudolph, Lucy Mae             Hypertension
Rudolph, Lucy Mae             Hypothyroidism
Rudolph, Lucy Mae             Hysterectomy
Rush, Coretta                 Asthma
Rush, Coretta                 Chronic Bronchitis
Rush, Coretta                 Diabetes
Rush, Coretta                 Hypertension
Sager, Eduardo Louis          Birth Defect
Sager, Eduardo Louis          Bronchitis
Sager, Eduardo Louis          COPD
Sager, Eduardo Louis          Mental Retardation
Sager, Edward Louis           Diabetes
Sager, Edward Louis           Hypertension
Sager, Mable Louis            Hypercholesterolemia
Sager, Mable Louis            Hyperlipidemia
Sager, Mable Louis            Hysterectomy
Sager, Mable Louis            Miscarriage
Sager, Mable Louis            Sinusitis
Sanders, Jessie Bell          Diabetes
Sanders, Jessie Bell          Hypertension
Sanders, Jessie Bell          Stomach Cancer
Sanders, Priscilla E.         Bone Diseases
Sanders, Priscilla E.         Hypertension
Sanders, Priscilla E.         Miscarriage
Sanders, Shirley Ann          Hypertension
Sanders, Shirley Ann          Miscarriage
Savage, Eller Jean            Hypertension
Scott, Brenda Nell            Blood Disorder
Scott, Brenda Nell            Hypertension
Scott, Brenda Nell            Rheumatoid Arthritis
Scott, Eddie Dean             Bone Diseases
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Scott, Latasha Sherree        Asthma
Scott, Latasha Sherree        Birth Defect
Scott, Latasha Sherree        Learning Disorder
Scott, Latasha Sherree        Liver Problems
Scott, Latasha Sherree        Reproductive Disorder
Scott, Mary Celeste           Anemia
Scott, Mary Celeste           Asthma
Scott, Mary Celeste           Hypertension
Scott, Mary Celeste           Hysterectomy
Scott, Mary Celeste           Learning Disorder
Scott, Mary Celeste           Rheumatoid Arthritis
Sears, Johnny C.              Diabetes
Sears, Johnny C.              Hypertension
Sears, Wanda Denise           Thyroid Disease
Sims, Lela Mae                Diabetes
Sims, Lela Mae                Hyperlipidemia
Sims, Lela Mae                Hypertension
Sims, Lela Mae                Hypothyroidism
Sims, Lela Mae                Paralysis
Slayton, Larry Lammarr        Lupus
Slayton, Mary Frances         Miscarriage
Smith, Brandon Deontae        Learning Disorder
Smith, Corine                 Hypertension
Smith, Corine                 Non-cancerous Tumors
Smith, Cynthia Elaine         Anemia
Smith, Cynthia Elaine         Asthma
Smith, Cynthia Elaine         Chronic Bronchitis
Smith, Cynthia Elaine         Diabetes
Smith, Cynthia Elaine         Fibroid Tumors
Smith, Cynthia Elaine         Hypertension
Smith, Cynthia Elaine         Hysterectomy
Smith, Cynthia Elaine         Rheumatoid Arthritis
Smith, Dianne                 Anemia
Smith, Dianne                 Fibroid Tumors
Smith, Dianne                 Hysterectomy
Smith, Dianne                 Miscarriage
Smith, Dianne                 Stillbirth
Smith, Dorothy Jean           Fibroid Tumors
Smith, Dorothy Jean           Heart Murmur
Smith, Dorothy Jean           Hypertension
Smith, Dorothy Jean           Hysterectomy
Smith, Dorothy Jean           Rheumatic Heart Disease
Smith, Dorothy Jean           Rheumatoid Arthritis
Smith, Estelle                Dental Disease
Smith, Estelle                Hypertension
Smith, Estelle                Multiple Sclerosis
Smith, Estelle                Psychiatric Disease/Disorder
Smith, Estelle                Rheumatoid Arthritis
Smith, Ethel Mae              Anemia
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Smith, Ethel Mae               Diabetes
Smith, Ethel Mae               Hypertension
Smith, Ethel Mae               Hysterectomy
Smith, Ethel Mae               Kidney Problems
Smith, Krista Mechelle         Anemia
Smith, Krista Mechelle         Cervical Cancer
Smith, Krista Mechelle         Endometriosis
Smith, Krista Mechelle         Hysterectomy
Smith, Kristina Delaine        Asthma
Smith, Kristina Delaine        Diabetes
Smith, Kristina Delaine        Skin Conditions
Smith, Lakecia Renee           Bone Diseases
Smith, Lakecia Renee           Leukopenia
Smith, Mary Lue                Hypertension
Smith, Mary Lue                Rheumatoid Arthritis
Smith, Morris                  Asthma
Smith, Morris                  Diabetes
Smith, Morris                  Hypertension
Smith, Mose, Sr                Cognitive Dysfunction
Smith, Mose, Sr                Hypertension
Smith, Mose, Sr                Rheumatoid Arthritis
Smith, Mose, Sr                Thyroid Disease
Smith, Robert Lawrence         Congestive Heart Failure
Smith, Robert Lawrence         Hypertension
Smith, Robert Lawrence         Rheumatoid Arthritis
Smith, Rod'Tavius              Asthma
Smith, Rod'Tavius              Bronchitis
Smith, Rosetta                 Diabetes
Smith, Rosetta                 Hypertension
Smith, Rosetta                 Miscarriage
Smith, Theodis                 Hypertension
Smith, Zachary Wayne           Asthma
Smith, Zachary Wayne           Birth Defect
Smith, Zachary Wayne           Brain Disorder
Smith, Zachary Wayne           Chronic Bronchitis
Smith, Zebrah Moton            Anemia
Smith, Zebrah Moton            Colon Cancer
Smith, Zebrah Moton            Diabetes
Smith, Zebrah Moton            Hypertension
Smith, Zebrah Moton            Skin Conditions
Steele, Earnestine Perry       Hypertension
Steele, Earnestine Perry       Rheumatoid Arthritis
Steele, Odessie M.             Brain Tumors
Steele, Patrick Tremaine       Sarcoidosis
Steele, Shirley White          Anemia
Steele, Shirley White          Fibroid Tumors
Steele, Shirley White          Hysterectomy
Steele, Shirley White          Miscarriage
Steele, Shirley White          Ovarian Cysts
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Stewart, Carl Hughlette, Jr    Asthma
Stewart, Carl Hughlette, Jr    COPD
Stewart, Carl Hughlette, Jr    Emphysema
Stewart, Carl Hughlette, Jr    Hypertension
Stewart, Carl Hughlette, Jr    Non-cancerous Tumors
Stewart, Carl Hughlette, Jr    Skin Cancer
Stewart, Donna Faye            Asthma
Stewart, Donna Faye            Chronic Bronchitis
Stewart, Donna Faye            Hypertension
Stewart, Donna Faye            Thyroid Disease
Stoudemire, Alfreda            Anemia
Stoudemire, Alfreda            Blood Disorder
Stoudemire, Antonio Keaaron    Asthma
Stoudemire, Antonio Keaaron    Learning Disorder
Stoudemire, Atraina Lorena     Asthma
Stoudemire, Atraina Lorena     Chronic Bronchitis
Stoudemire, Atraina Lorena     Diabetes
Stoudemire, Atraina Lorena     Kidney Failure
Stoudemire, Clyde L            Bone Diseases
Stoudemire, Clyde L            Cardiovascular Disease
Stoudemire, Clyde L            Hyperlipidemia
Stoudemire, Clyde L            Hypertension
Stoudemire, De'aaron Marquil   Asthma
Stoudemire, De'aaron Marquil   Chronic Bronchitis
Stoudemire, Eldrick Pernell    Learning Disorder
Stoudemire, Eldrick Pernell    Skin Conditions
Stoudemire, Geraldine          Asthma
Stoudemire, Geraldine          Cardiovascular Disease
Stoudemire, Geraldine          Chronic Bronchitis
Stoudemire, Geraldine          Diabetes
Stoudemire, Geraldine          Hypertension
Stoudemire, Geraldine          Osteoporosis
Stoudemire, Geraldine          Rheumatoid Arthritis
Stoudemire, Sadie Mae          Cardiovascular Disease
Stoudemire, Sadie Mae          Hypertension
Stoudemire, Shannha Sabrina    Asthma
Stoudemire, Shannha Sabrina    Chronic Bronchitis
Stoudemire, Shannha Sabrina    Hysterectomy
Stoudemire, Shannha Sabrina    Thyroid Disease
Stoudemire, Tauchie Marie      Asthma
Stoudemire, Tauchie Marie      Chronic Bronchitis
Stoudemire, Tauchie Marie      Stillbirth
Stoudemire, Tauchie Marie      Thyroid Disease
Stoudemire, Timothy            Asthma
Stoudemire, Timothy            Diabetes
Sturgeon, Michelle Smith       Cardiovascular Disease
Sturgeon, Michelle Smith       COPD
Sturgeon, Michelle Smith       Dental Disease
Sturgeon, Michelle Smith       Diabetes
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Sturgeon, Michelle Smith      Fibroid Tumors
Sturgeon, Michelle Smith      Hypertension
Sturgeon, Michelle Smith      Kidney / Renal insufficiency
Tatum, Barbara Culpepper      Fibroid Tumors
Tatum, Barbara Culpepper      Hypertension
Tatum, Barbara Culpepper      Hysterectomy
Tatum, Sammy                  Sinus Trouble
Taylor, Annie B               Diabetes
Taylor, Annie B               Endometriosis
Taylor, Annie B               Fibroid Tumors
Taylor, Annie B               Hypertension
Taylor, Annie B               Hysterectomy
Taylor, Annie B               Thyroid Problems
Thomas, Brown, Jr.            Bone Diseases
Thomas, Brown, Jr.            Chronic Bronchitis
Thomas, Brown, Jr.            Emphysema
Thomas, Brown, Jr.            Hypertension
Thomas, Brown, Jr.            Skin Conditions
Thomas, Harry J.              Hypertension
Thomas, Harry J.              Liver Problems
Thomas, Harry J.              Skin Conditions
Thomas, Mary E.               Asthma
Thomas, Mary E.               Fibroid Tumors
Thomas, Sarah Louise          Blood Disorder
Thomas, Sarah Louise          Hypertension
Thomas, Sarah Louise          Rheumatoid Arthritis
Thomas, Virgie L              Anemia
Thomas, Virgie L              Asthma
Thomas, Virgie L              Cardiovascular Disease
Thomas, Virgie L              Chronic Bronchitis
Thomas, Virgie L              Diabetes
Thomas, Virgie L              Emphysema
Thomas, Virgie L              Hypertension
Thomas, Virgie L              Kidney Failure
Thomas, Yolanda               Asthma
Thomas, Yolanda               Bone Diseases
Thomas, Yolanda               Cardiovascular Disease
Thomas, Yolanda               Chronic Bronchitis
Thomas, Yolanda               COPD
Thomas, Yolanda               Miscarriage
Thomas, Yolanda               Psychiatric Disease/Disorder
Townsend, Gwendodolyn         Bone Diseases
Townsend, Gwendodolyn         Hypertension
Townsend, Gwendodolyn         Thyroid Problems
Townsend, Kebrina Annette     Asthma
Townsend, Timothy T., Jr.     Diabetes
Tucker, Cynthia Deloris       No Diagnosis
Tyus, Chicaree Nicole         Cervical Cancer
Tyus, Gail Denise             Fibroid Tumors
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Tyus, Gail Denise             Hysterectomy
Underwood, Ashley Danielle    Anemia
Underwood, Ashley Danielle    Blood Disorder
Underwood, Ashley Danielle    Cardiovascular Disease
Underwood, Marcus Terrell     Birth Defect
Underwood, Teresa             Cervical Cancer
Underwood, Teresa             Fibroid Tumors
Underwood, Teresa             Hypertension
Varner, Clarence Edward       Diabetes
Varner, Clarence Edward       Emphysema
Varner, Clarence Edward       Hypertension
Varner, Clarence Edward       Psychiatric Disease/Disorder
Varner, Clarence Edward       Rheumatoid Arthritis
Wadsworth, Jack Newell        Prostate Cancer
Wallace, Georgia Mae          Fibroid Tumors
Wallace, Georgia Mae          Hysterectomy
Wallace, Martha Ann           Diabetes
Wallace, Martha Ann           Hysterectomy
Wallace, Martha Ann           Lung Disease or Disorders
Wallace, Martha Ann           Non-Hodgkin's Lymphoma
Ware, Foster L.               Depression
Ware, Foster L.               Diabetes
Ware, Foster L.               Hypertension
Ware, Foster L.               Rheumatoid Arthritis
Ware, Foster L.               Thyroid Problems
Ware, Plummie S.              Hypertension
Ware, Plummie S.              Hysterectomy
Ware, Plummie S.              Thyroid Disease
Wesson, Barbara Ann           Asthma
Wesson, Barbara Ann           Chronic Bronchitis
Wesson, Barbara Ann           Endometriosis
Wesson, Barbara Ann           Fibroid Tumors
Wesson, Barbara Ann           Heart Attack
Wesson, Barbara Ann           Hypertension
Wesson, Barbara Ann           Hysterectomy
Wesson, Barbara Ann           Rectal Cancer
Wesson, Barbara Ann           Rheumatoid Arthritis
Wesson, Barbara Ann           Thyroid Disease
White, Donna E.               Endometriosis
White, Donna E.               Hysterectomy
White, Donna E.               Ovarian Cysts
White, Joyce Ann              Brain Tumors
White, Joyce Ann              Sinusitis
White, Michael Shane          Sinus Trouble
Williams, Dorothy Mosely      Asthma
Williams, Dorothy Mosely      Chronic Bronchitis
Williams, Dorothy Mosely      Diabetes
Williams, Dorothy Mosely      Fibroid Tumors
Williams, Dorothy Mosely      Hypertension
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Williams, Dorothy Mosely      Hysterectomy
Williams, Dorothy Mosely      Osteoporosis
Williams, Dorothy Mosely      Rheumatoid Arthritis
Williams, Dorothy Mosely      Thyroid Disease
Williams, Lisa Michelle       No Diagnosis
Williams, Monica Rena         Anemia
Williams, Monica Rena         Bronchitis
Williams, Monica Rena         Cirrhosis of Liver
Williams, Monica Rena         Endometriosis
Williams, Monica Rena         Fibroid Tumors
Williams, Monica Rena         Hypertension
Williams, Monica Rena         Miscarriage
Williams, Violet Mae          Chronic Bronchitis
Williamson, Aretina Lashun    Anemia
Williamson, Aretina Lashun    Bronchitis
Williamson, Aretina Lashun    Hypertension
Williamson, Aretina Lashun    Non-Hodgkin's Lymphoma
Williamson, Aretina Lashun    Renal Failure
Williamson, Aretina Lashun    Skin Conditions
Williamson, Arthur            Cardiovascular Disease
Williamson, Arthur            Diabetes
Williamson, Arthur            Hypertension
Williamson, Arthur            Lung Disease or Disorders
Williamson, Georgia G.        Diabetes
Williamson, Georgia G.        Fibroid Tumors
Williamson, Georgia G.        Hypertension
Williamson, Georgia G.        Hysterectomy
Williamson, Georgia G.        Skin Conditions
Willis, Dorian Khalil         Asthma
Willis, Dorian Khalil         Chronic Bronchitis
Willis, Eldrick L.            Bone Diseases
Willis, Rosetta               Diabetes
Willis, Rosetta               Hypertension
Wills, Wallace Howard         Diabetes
Wills, Wallace Howard         Lung Disease or Disorders
Wilson, Jodie Angeline        Asthma
Wilson, Jodie Angeline        Chronic Bronchitis
Wilson, Jodie Angeline        COPD
Wilson, Jodie Angeline        Fibroid Tumors
Wilson, Jodie Angeline        Hypertension
Wilson, Jodie Angeline        Hysterectomy
Wilson, Jodie Angeline        Psychiatric Disease/Disorder
Wood, Charlie                 Hypertension
Woods, Debra Elaine           Chronic Bronchitis
Woods, Debra Elaine           COPD
Woods, Debra Elaine           Emphysema
Woods, Debra Elaine           Hypertension
Wyatt, Jakerrius Kameron      Asthma
Wyatt, Jakerrius Kameron      Cardiovascular Disease
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Wyatt, Jakerrius Kameron      Kawasaki's Disease
Yarbrough, Deborah Deramus    Endometriosis
Yarbrough, Deborah Deramus    Hysterectomy
Yelder, Annie Laura           Diabetes
Yelder, Annie Laura           Disorders of Nervous System
Yelder, Annie Laura           Hypertension
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Exhibit B: Real Property Damage Claims

Damage to Roofs resulting in the need for accelerated replacement or repair
Accelerated corrosion of outdoor light fixtures
Accelerated corrosion of fencing
Accelerated corrosion of copper wiring and tubing throughout homes
Permanent disabiling damage to HVAC units attached to real property
Damage to circuit breakers and electrical panels
Refridgerator condensor units rendered inoperative
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Exhibit C: Personal Property Damage

Diminished value associated with cosmetic damage to paint on vehicles
Diminished value associated with tarnished jewelry
Diminished value associated with damage to paint on farm equipment
Corroded and rusted household appliances
Damage to clothing caused by residual fallout from IP facility
Reduced life expectancy of livestock, farm animals, and personal pets
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                         CERTIFICATE OF SERVICE

       I hereby certify that on Monday, September 21, 2009, I electronic filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

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